      Case 1:24-cv-03188-RC       Document 18-1   Filed 02/03/25   Page 1 of 56




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

                    Plaintiff,

       v.

DOROTHY FINK, in her official capacity, and
U.S. DEPARTMENT OF HEALTH AND HUMAN
                                                     Civil Action No. 1:24-cv-3188
SERVICES,

and

DIANA ESPINOSA, in her official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

                    Defendants.


                       MEMORANDUM IN SUPPORT OF
                PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
         Case 1:24-cv-03188-RC                       Document 18-1                Filed 02/03/25              Page 2 of 56




                                                  TABLE OF CONTENTS

                                                                                                                                    Page

TABLE OF AUTHORITIES .......................................................................................................... ii
INTRODUCTION .......................................................................................................................... 1
STATEMENT OF FACTS ............................................................................................................. 3
I. Statutory and Regulatory Framework ....................................................................................... 3
     A. The 340B Drug Pricing Program Caps Drug Prices for Certain Covered
        Entities that Provide Healthcare to Underserved Populations ............................................ 3
     B. The 340B Statute Allows Manufacturers to Select a Mechanism for
        Offering Reduced-Priced Drugs to Covered Entities.......................................................... 7
     C. The 340B Program Has Evolved Dramatically Since Its Inception ................................... 9
II. Factual and Procedural Background ....................................................................................... 13
     A. J&J Observes Rapidly Increasing 340B Purchasing and Evidence of
        Program Abuse, but Covered Entities Stymie J&J’s Attempts to Audit .......................... 13
     B. J&J Considers Offering 340B Pricing Through a Rebate Model and
        Presents a Proposal to HRSA............................................................................................ 14
     C. HRSA Rejects J&J’s Rebate Model Proposal .................................................................. 18
     D. J&J Proceeds with Litigation Against HRSA ................................................................... 23
STANDARD OF REVIEW .......................................................................................................... 23
ARGUMENT ................................................................................................................................ 25
I. The 340B Statute Unquestionably Allows Rebate Models, Which Manufacturers
   Can Select at Their Discretion ................................................................................................ 26
     A. Rebate Models Are Permitted by the Statute .................................................................... 26
     B. HRSA’s Interpretation of the 340B Statute Is Erroneous ................................................. 27
     C. HRSA Lacks Authority to Mandate a Pricing Mechanism ............................................... 31
     D. Even If HRSA Had Discretion to Mandate a Pricing Mechanism, It Must
        Do So in the PPA .............................................................................................................. 33
     E. Rebate Models Do Not Violate the “Must-Offer” Requirement ...................................... 36
II. HRSA Unlawfully Rejected J&J’s Rebate Model .................................................................. 39
     A. HRSA’s Rejection of J&J’s Rebate Model Announced a Legislative Rule
        Without Required Procedure............................................................................................. 39
     B. HRSA’s Inconsistent Treatment of Rebate and Replenishment Models
        Raises Serious Questions About the Agency’s Decision-making .................................... 42
CONCLUSION ............................................................................................................................. 45
         Case 1:24-cv-03188-RC                      Document 18-1                Filed 02/03/25              Page 3 of 56




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Am. Bioscience, Inc. v. Thompson,
   269 F.3d 1077 (D.C. Cir. 2001) ...............................................................................................23

Amalgamated Transit Union v. Skinner,
  894 F.2d 1362 (D.C. Cir. 1990) ...............................................................................................35

Ass’n of Flight Attendants-CWA, AFL-CIO v. Huerta,
   785 F.3d 710 (D.C. Cir. 2015) .................................................................................................41

Astra USA, Inc. v. Santa Clara Cnty.,
    563 U.S. 110 (2011) .............................................................................................................4, 41

Atl. City Elec. Co. v. FERC,
    295 F.3d 1 (D.C. Cir. 2002) .....................................................................................................32

Burlington N. & Santa Fe. Ry. Co. v. Surface Transp. Bd.,
   403 F.3d 771 (D.C. Cir. 2005) .................................................................................................44

California Indep. Sys. Operator Corp. v. FERC,
   372 F.3d 395 (D.C. Cir. 2004) .................................................................................................31

Cash & Henderson Drugs, Inc. v. Johnson & Johnson,
   799 F.3d 202 (2d Cir. 2015).....................................................................................................37

Celotex Corp. v. Catrett,
   477 U.S. 317 (1986) .................................................................................................................23

City of Arlington v. FCC,
    569 U.S. 290 (2013) .................................................................................................................32

CSL Plasma Inc. v. U.S. Customs & Border Prot.,
   628 F. Supp. 3d 243 (D.D.C. 2022) .........................................................................................41

Cyan, Inc. v. Beaver Cnty. Emps. Ret. Fund,
   583 U.S. 416 (2018) ...........................................................................................................28, 29

District Hosp. Partners, L.P. v. Burwell,
   786 F.3d 46 (D.C. Cir. 2015) ...................................................................................................43

Eagle Pharms., Inc. v. Azar,
   952 F.3d 323 (D.C. Cir. 2020) .....................................................................................26, 34, 36


                                                                    ii
         Case 1:24-cv-03188-RC                      Document 18-1                Filed 02/03/25             Page 4 of 56




EB5 Holdings, Inc. v. Jaddou,
   717 F. Supp. 3d 86 (D.D.C. 2024) ...........................................................................................29

Elec. Energy, Inc. v. EPA,
   106 F.4th 31 (D.C. Cir. 2024) ..................................................................................................39

Env’t Def. Fund v. EPA,
   124 F.4th 1 (D.C. Cir. 2024) ..............................................................................................24, 42

Etelson v. Off. of Pers. Mgmt.,
    684 F.2d 918 (D.C. Cir. 1982) .................................................................................................44

FCC v. Prometheus Radio Project,
  592 U.S. 414 (2021) .................................................................................................................42

FTC v. Cardinal Health, Inc.,
  12 F. Supp. 2d 34 (D.D.C. 1998) .............................................................................................37

Genus Med. Techs. LLC v. FDA,
   994 F.3d 631 (D.C. Cir. 2021) .................................................................................................34

Grayscale Invs., LLC v. SEC,
   82 F.4th 1239 (D.C. Cir. 2023) ................................................................................................42

Gulf Power Co. v. FERC,
   983 F.2d 1095 (D.C. Cir. 1993) ...............................................................................................43

Hikvision USA, Inc. v. FCC,
   97 F.4th 938 (D.C. Cir. 2024) ..................................................................................................32

Jama v. ICE,
   543 U.S. 335 (2005) .................................................................................................................28

Landstar Express Am., Inc. v. Fed. Mar. Comm’n,
   569 F.3d 493 (D.C. Cir. 2009) .................................................................................................36

Lilliputian Sys., Inc. v. Pipeline & Hazardous Materials Safety Admin.,
    741 F.3d 1309 (D.C. Cir. 2014) ...............................................................................................44

Lissack v. Comm’r,
    125 F.4th 245 (D.C. Cir. 2025) ................................................................................................25

Loper Bright Enters. v. Raimondo,
   603 U.S. 369 (2024) .....................................................................................................24, 29, 42

Maple Drive Farms Ltd. P’ship v. Vilsack,
  781 F.3d 837 (6th Cir. 2015) .............................................................................................28, 29




                                                                   iii
         Case 1:24-cv-03188-RC                        Document 18-1                  Filed 02/03/25               Page 5 of 56




Marshall Cnty. Health Care Auth. v. Shalala,
  988 F.2d 1221 (D.C. Cir. 1993) ...............................................................................................23

Mendoza v. Perez,
  754 F.3d 1002 (D.C. Cir. 2014) ...............................................................................................41

Mercy Hosp., Inc. v. Azar,
   891 F.3d 1062 (D.C. Cir. 2018) ...............................................................................................36

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   562 U.S. 562 (2011) .................................................................................................................35

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  719 F.3d 689 (D.C. Cir. 2013) .................................................................................................35

Nasdaq Stock Market LLC v. SEC,
   38 F.4th 1126 (D.C. Cir. 2022) ................................................................................................44

Nat’l Council for Adoption v. Blinken,
   4 F.4th 106 (D.C. Cir. 2021) ..............................................................................................40, 42

Nat’l Mining Ass’n v. McCarthy,
   758 F.3d 243 (D.C. Cir. 2014) ...........................................................................................39, 40

Novartis Pharms. Corp. v. Johnson,
   102 F.4th 452 (D.C. Cir. 2024) ........................................................................................ passim

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   113 F.4th 943 (D.C. Cir. 2024) ..........................................................................................24, 30

PhRMA v. David,
   510 F. Supp. 3d 891 (E.D. Cal. 2021)......................................................................................37

PhRMA v. HHS (Orphan Drug I),
   138 F. Supp. 3d 31 (D.D.C. 2015) ...........................................................................................32

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   43 F. Supp. 3d 28 (D.D.C. 2014) ..................................................................................... passim

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   --- F. Supp. 3d ---, No. 2:24-cv-00271, 2024 WL 5147643 (S.D. W. Va. Dec.
   17, 2024) ..................................................................................................................................12

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   583 F.3d 860 (D.C. Cir. 2009) .................................................................................................23

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   58 F.4th 696 (3d Cir. 2023) ............................................................................................. passim



                                                                       iv
         Case 1:24-cv-03188-RC                         Document 18-1                  Filed 02/03/25              Page 6 of 56




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   318 U.S. 80 (1943) ...................................................................................................................32

Servier Pharms. LLC v. Becerra,
   No. 24-cv-2664, 2025 WL 27352 (D.D.C. Jan. 3, 2025)...................................................24, 30

Skidmore v. Swift & Co.,
    323 U.S. 134 (1944) ...........................................................................................................24, 25

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    964 F.3d 1203 (D.C. Cir. 2020) ...............................................................................................43

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   127 F.3d 90 (D.C. Cir. 1997) ...................................................................................................41

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   123 F.4th 513 (D.C. Cir. 2024) ..........................................................................................24, 29

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   106 F.4th 1118 (D.C. Cir. 2024) ..............................................................................................32

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  50 F.4th 164 (D.C. Cir. 2022) ..................................................................................................29

Whitman v. Am. Trucking Ass’ns,
   531 U.S. 457 (2001) .................................................................................................................34

Statutes

5 U.S.C.
   § 706(2) ....................................................................................................................................24
   § 706(2)(A) ..............................................................................................................................39
   § 706(2)(C)...............................................................................................................................39
   § 706(2)(D) ..............................................................................................................................40

15 U.S.C.
   § 77p(c) ....................................................................................................................................28




                                                                        v
         Case 1:24-cv-03188-RC                         Document 18-1                  Filed 02/03/25              Page 7 of 56




42 U.S.C.
   § 256b...................................................................................................................................1, 31
   § 256b(a) ..................................................................................................................................33
   § 256b(a)(1) ..................................................................................................................... passim
   § 256b(a)(4) ...............................................................................................................................4
   § 256b(a)(5)(A) ..........................................................................................................................5
   § 256b(a)(5)(B) ..........................................................................................................................5
   § 256b(a)(5)(C) ....................................................................................................................6, 14
   § 256b(d)(1)(B)(i)(I) ................................................................................................................31
   § 256b(d)(1)(B)(vi) ..................................................................................................................21
   § 256b(d)(1)(B)(vi)(II) ...............................................................................................................6
   § 256b(d)(1)(B)(vi)(III) .............................................................................................................6
   § 256b(d)(2)(B)(v)(I) .................................................................................................................6
   § 1320a-7b(b) ...........................................................................................................................38
   § 1395w-102(d)(1)(B)..............................................................................................................38
   § 1396r-8(c)(1)(C)(ii)(I)...........................................................................................................38

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Omnibus Budget Reconciliation Act of 1990, Pub. L. No. 101-508, 104 Stat. 1388 ......................4

Veterans Health Care Act of 1992, Pub. L. 102-585, 106 Stat. 4943 ..............................................7

Regulations

42 C.F.R.
   § 10.11(b) ...................................................................................................................................6
   § 10.11(b)(1) ..............................................................................................................................6
   § 423.100..................................................................................................................................38
   § 447.505(b) .............................................................................................................................38
   § 1001.952(h)(4) ......................................................................................................................38
   § 1001.952(h)(5) ......................................................................................................................38
   § 1003.150..................................................................................................................................6

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80 Fed. Reg. 63,560 (Oct. 20, 2015) ..............................................................................................41

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                                                                       vi
         Case 1:24-cv-03188-RC                       Document 18-1                 Filed 02/03/25              Page 8 of 56




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Rules

Fed. R. Civ. P. 56(a) ......................................................................................................................23

Legislative Materials

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   https://bit.ly/4eicWep ...............................................................................................................10

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   Legal Texts (2012) .............................................................................................................28, 36

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  Price Applicability Year 2027 and Manufacturer Effectuation of the Maximum
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   Act Helped Grow the 340B Program (Aug. 30, 2024), https://bit.ly/3XFDWh8 ................5, 13



                                                                     vii
       Case 1:24-cv-03188-RC                 Document 18-1            Filed 02/03/25         Page 9 of 56




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   (Dec. 14, 2020), https://www.gao.gov/assets/gao-21-107.pdf.................................................11




                                                         viii
      Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 10 of 56




                                          INTRODUCTION

       This case involves a simple question of statutory construction: Does the statute establishing

the 340B prescription drug pricing program, 42 U.S.C. § 256b, permit drug manufacturers to offer

statutorily required price reductions through a rebate rather than a discount? The answer is

definitively yes. The 340B statute directs that “[t]he Secretary [of Health and Human Services]

shall enter into an agreement with each manufacturer of covered outpatient drugs under which the

amount required to be paid (taking into account any rebate or discount, as provided by the

Secretary) to the manufacturer” by eligible purchasers, known as covered entities, “does not

exceed” a “ceiling price” calculated by the manufacturer through a statutory formula. 42 U.S.C.

§ 256b(a)(1) (emphasis added). The “agreement” referenced in the statute, a form contract known

as the Pharmaceutical Pricing Agreement (“PPA”), does not, and indeed cannot, preclude

manufacturers from offering that ceiling price through a rebate. Accordingly, manufacturers retain

discretion to adopt a rebate mechanism for offering the ceiling price to covered entities.

       Despite the plain statutory text, the Health Resources and Services Administration

(“HRSA”) rejected a plan by plaintiff Johnson & Johnson Health Care Systems Inc. (“J&J”) to

offer the 340B price for certain sales through a rebate model rather than through a discount. In a

series of final action letters to J&J, as well as a policy pronouncement on its website, HRSA

definitively has concluded that J&J must obtain “Secretarial approval” before offering the 340B

price on these sales through a rebate.1

       But the 340B statute does not vest Defendants with that authority. Rather, the statute

authorizes the Secretary, at most, to provide guidance in the PPA on how a manufacturer should




1
 Pursuant to Federal Rule of Civil Procedure 25(d), J&J has substituted the successors of the
Health and Human Services (“HHS”) Secretary and HRSA Administrator in this case’s caption.


                                                 1
      Case 1:24-cv-03188-RC          Document 18-1         Filed 02/03/25      Page 11 of 56




“tak[e] into account” the manufacturer’s own, discretionary choice of pricing mechanism. 42

U.S.C. § 256b(a)(1). By its plain meaning, that language authorizes HRSA to provide in the PPA

how manufacturers may account for rebates or discounts, such as by directing use of appropriate

records, recordkeeping procedures, or accounting mechanisms to document rebate payments (i.e.,

“taking [rebates] into account”). Moreover, even if HRSA were correct that the 340B statute vests

the Secretary with discretion to direct a pricing mechanism (it does not), the 340B statute makes

clear that the only vehicle through which HRSA could possibly implement such a mandate is the

PPA. The statute contains no other authority to prohibit a pricing mechanism; as this Court has

held, “[w]ithin section 340B, Congress specifically authorized rulemaking in three places” only.

PhRMA v. HHS, 43 F. Supp. 3d 28, 41-42 (D.D.C. 2014) (Contreras, J.). Whether manufacturers

must use discounts or rebates to provide 340B pricing to covered entities is not among them, and

“HHS has not been granted broad rulemaking authority to carry out all the provisions of the 340B

program.” Id. at 42. As such, HRSA’s regulatory letters and policy pronouncement rejecting

J&J’s planned use of rebates to effectuate 340B pricing violate the 340B statute.

       HRSA’s actions also violate the Administrative Procedure Act (“APA”). Again assuming

that HRSA has authority to mandate or prohibit a pricing mechanism, which it does not, that is an

exercise of legislative authority that could be carried out only through notice-and-comment

rulemaking. In its letters to J&J and the policy pronouncement on its website, HRSA declared that

“implementing a rebate proposal without Secretarial approval would violate Section 340B(a)(1),”

and threatened to terminate J&J from the 340B program if it proceeds with a rebate model. These

declarations purport to bar J&J from unilaterally adopting a rebate model on pain of severe

sanctions. HRSA has thus attempted to adopt a legislative rule that is both in excess of its statutory

powers and promulgated without observing procedures required by law.




                                                  2
      Case 1:24-cv-03188-RC           Document 18-1      Filed 02/03/25      Page 12 of 56




       HRSA’s treatment of J&J’s rebate model is also fundamentally at odds with its

acquiescence in covered entities’ adoption of “replenishment models” for 340B purchasing over a

decade ago. The details of replenishment models vary, but they operate similarly to rebate models

in that covered entities make initial purchases at commercial prices, and thereafter receive

replacement units at reduced 340B pricing. Yet in its letters rejecting J&J’s rebate model, HRSA

failed to reconcile its tacit consent to covered entities’ voluntary adoption of replenishment

models—which are contemplated nowhere in the 340B statute—with its harsh rejection of J&J’s

materially similar, statutorily-authorized rebate model. Nor did HRSA sufficiently reconcile its

current rejection of J&J’s rebate model with HRSA’s prior determination that certain covered

entities could use rebate models (as some covered entities do today) or with J&J’s contention that

a rebate model was necessary to comply with the Inflation Reduction Act’s Medicare Drug Price

Negotiation Program, for which key obligations take effect on September 1, 2025.

       For these reasons, the Court should: (i) declare that J&J may proceed with its plan to offer

the 340B price to covered entities through a rebate; (ii) declare that HRSA violated the APA by

(a) adopting its “Secretarial approval” policy without statutory authority and through unlawful

procedure, and then (b) applying that unlawful policy to J&J; and (iii) vacate HRSA’s unlawful

policy and its letters applying that policy to J&J.

                                    STATEMENT OF FACTS

I.     STATUTORY AND REGULATORY FRAMEWORK

       A.      The 340B Drug Pricing Program Caps Drug Prices for Certain Covered
               Entities that Provide Healthcare to Underserved Populations

       Section 340B of the Public Health Service Act establishes a federal program that “imposes

ceilings on prices drug manufacturers may charge for medications sold to specified health-care

facilities,” known as covered entities, that provide healthcare to certain underserved populations.



                                                  3
        Case 1:24-cv-03188-RC         Document 18-1      Filed 02/03/25      Page 13 of 56




Astra USA, Inc. v. Santa Clara Cnty., 563 U.S. 110, 113 (2011). The statute defines “covered

entity” to include 15 carefully drawn and narrow categories of healthcare providers. 42 U.S.C.

§ 256b(a)(4)(A)-(O).

         Under the 340B statute, in order for a pharmaceutical manufacturer’s products to be

reimbursed under Medicare Part B, and for a state Medicaid program to receive “Federal Financial

Participation” for those products, the manufacturer must enter into a Pharmaceutical Pricing

Agreement (“PPA”) with HHS. See 42 U.S.C. § 256b(a)(1). The PPA requires manufacturers,

among other things, to “offer each covered entity covered outpatient drugs for purchase” at a

calculated reduced price (the ceiling price) “if such drug is made available to any other purchaser

at any price.” Id.; see AR36-AR47.2 This is known as Section 340B’s “must-offer” requirement.

See Sanofi Aventis U.S. LLC v. HHS, 58 F.4th 696, 699 (3d Cir. 2023).

         Congress enacted Section 340B in 1992 to address an unintended consequence of the

Omnibus Budget Reconciliation Act of 1990, Pub. L. No. 101-508, 104 Stat. 1388. Among other

things, the 1990 Act established the Medicaid Drug Rebate Program (“MDRP”), which altered

pricing rules that had previously enabled some manufacturers to voluntarily provide lower prices

on their drugs to safety net providers. The intent of the 340B Program was to restore the pre-1990

status quo, making reduced prices available again to covered entities but now exempting those

lower prices from impacting the manufacturer’s rebate obligations under the Medicaid rebate

program. See H.R. Rep. No. 102-384, pt. 2, at 10-12 (1992) (House committee report explaining

that the 340B Program would “remove any disincentive that the Medicaid rebate program creates

to discourage manufacturers from providing substantial voluntary or negotiated discounts to these

clinics, programs, and hospitals”).


2
    “AR” citations refer to the Administrative Record produced by Defendants, ECF No. 17.


                                                4
      Case 1:24-cv-03188-RC           Document 18-1         Filed 02/03/25      Page 14 of 56




       Over time, however, covered entities realized that they could arbitrage their ability to

purchase drugs at steep discounts under the 340B Program to generate “revenue from serving

insured patients: they turn a profit when insurance companies reimburse them at full price for drugs

that they bought at the 340B discount.” Sanofi Aventis, 58 F.4th at 699; see Novartis Pharms.

Corp. v. Johnson, 102 F.4th 452, 457 (D.C. Cir. 2024) (covered entities generate revenue from the

“spread between the discounted price and the higher insurance reimbursement rate”). In other

words, covered entities benefit from the spread between a 340B drug’s acquisition cost (i.e., the

reduced 340B price) and a higher rate at which insurance companies reimburse for the product.

Eligibility to purchase drugs at 340B prices thus confers an extremely valuable benefit on covered

entities, who have “a financial incentive to catalog as many prescriptions as possible as eligible

for [a 340B] discount.” Novartis Pharms., 102 F.4th at 457-58. As a result, the program

incentivizes covered entities to provide services to insured patients rather than vulnerable

populations most in need of affordable care. See, e.g., Rory Martin et al., IQVIA, Unintended

Consequences: How the Affordable Care Act Helped Grow the 340B Program 5 (Aug. 30, 2024)

(Unintended Consequences), https://bit.ly/3XFDWh8.

       In enacting Section 340B, Congress sought to balance its goal of increasing patient access

against the need to “assure the integrity of the drug price limitation program.” H.R. Rep. No. 102-

384, pt. 2, at 16. To that end, the 340B statute places two important restrictions on covered entities.

First, covered entities may not obtain 340B pricing on units of drugs that are also subject to the

payment of a rebate under Medicaid (known as a “duplicate discount”).                      42 U.S.C.

§ 256b(a)(5)(A). Second, covered entities may not resell or otherwise transfer 340B drugs to a

person who is not a patient of the covered entity (known as “diversion”). Id. § 256b(a)(5)(B). A




                                                  5
     Case 1:24-cv-03188-RC              Document 18-1    Filed 02/03/25      Page 15 of 56




covered entity that “knowingly and intentionally” engages in diversion must pay monetary

penalties. Id. § 256b(d)(2)(B)(v)(I).

       In addition, the 340B statute authorizes HRSA and manufacturers to conduct audits of

covered entities’ compliance with the diversion and duplicate discounting prohibitions:

               A covered entity shall permit the Secretary and the manufacturer of a
               covered outpatient drug that is subject to an agreement under this subsection
               with the entity (acting in accordance with procedures established by the
               Secretary relating to the number, duration, and scope of audits) to audit at
               the Secretary’s or the manufacturer’s expense the records of the entity that
               directly pertain to the entity’s compliance with the requirements described
               in subparagraphs (A) or (B) with respect to drugs of the manufacturer.

Id. § 256b(a)(5)(C).

       In addition to regulating covered entities, the 340B statute also authorizes HRSA to pursue

enforcement actions against manufacturers who are not compliant with program requirements.

Manufacturers that “knowingly and intentionally charge[] a covered entity a price for purchase of

a drug that exceeds the [340B ceiling price]” are subject to civil monetary penalties (“CMPs”). Id.

§ 256b(d)(1)(B)(vi)(III). The amount of the penalty is decided on a case-by-case basis, with a

maximum of “$5,000 for each instance of overcharging,” id. § 256b(d)(1)(B)(vi)(II), an amount

that has been administratively adjusted for inflation up to the current maximum of $6,813, 88 Fed.

Reg. 69,531, 69,535 (Oct. 6, 2023). HRSA has interpreted the phrase “instance of overcharging”

to mean “any order for a covered outpatient drug, by NDC [a unique product identifier for each

prescription drug product], which results in a covered entity paying more than the [340B] ceiling

price.” 42 C.F.R. § 10.11(b). In addition, “[e]ach order for an NDC will constitute a single

instance, regardless of the number of units of each NDC ordered.” Id. § 10.11(b)(1). HRSA

initiates a CMP action by issuing a referral to HHS’s Office of the Inspector General. See 42

C.F.R. § 1003.150 (delegating HHS Secretary’s authority to assess CMPs).




                                                 6
     Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25     Page 16 of 56




       B.      The 340B Statute Allows Manufacturers to Select a Mechanism for Offering
               Reduced-Priced Drugs to Covered Entities

       The key provision of the 340B statute for the purposes of this case directs the HHS

Secretary to “enter into an agreement with each manufacturer of covered outpatient drugs under

which the amount required to be paid (taking into account any rebate or discount, as provided by

the Secretary) to the manufacturer for covered outpatient drugs … does not exceed” the “ceiling

price.” 42 U.S.C. § 256b(a)(1). Importantly, the statute does not specify a single mechanism that

manufacturers should use to furnish reduced prices to covered entities; instead, it specifies both

“rebate[s]” and “discount[s].” Id. Likewise, the PPA—the “agreement” referred to in the statute—

does not specify the pricing mechanism to be used. Nor has HRSA attempted to direct a pricing

mechanism through other means, other than releasing guidance discussing use of rebate models by

one category of covered entity. See infra at 8-9.

       Rather, from its original enactment, the 340B statute was understood to afford

manufacturers discretion over how best to make the 340B price available to covered entities. In

1992, the House Energy and Commerce Committee issued a report on a bill that became part of

the Veterans Health Care Act of 1992 (“VHCA”), Pub. L. 102-585, 106 Stat. 4943, which

established the 340B Program. H.R. Rep. No. 102-384, pt. 2 (1992). The report made clear that

the legislation contemplated manufacturers using different mechanisms, including rebates, for

providing 340B pricing to covered entities.          The Committee specifically stated that

“manufacturers, as a condition of receiving Federal Medicaid matching funds on their covered

outpatient drugs, would have to enter into an agreement with the Secretary of HHS to provide price

reductions (whether through a discount, rebate, or other mechanism) to these ‘covered entities’

on covered outpatient drugs.” Id. at 12 (emphasis added); see id. at 16 (“The Committee bill does

not specify whether ‘covered entities’ would receive these favorable prices through a point-of-



                                                7
     Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25     Page 17 of 56




purchase discount, through a manufacturer rebate, or through some other mechanism.” (emphasis

added)).

       In addition to the House report, the Senate sponsor of the legislation explained in a floor

speech that the bill would require manufacturers to enter agreements “to provide rebates or

discounts” to covered entities. 138 Cong. Rec. 34279, 34293 (1992) (statement of Sen. Alan

Cranston); see id. at 34294 (repeatedly referring to provisions addressing “rebate or discount

agreement[s]”). Those remarks reinforced what the statute’s plain text already made clear:

Congress intended to establish rebates as an acceptable mechanism through which manufacturers

could offer the 340B price to covered entities. In fact, HRSA so recognized in its very first 340B

Program guidance document in 1993, which stated that the VHCA “is an attempt to provide

Federal purchasers with a process whereby they will receive drug discounts or rebates.” 58 Fed.

Reg. 27,289, 27,290 (May 7, 1993) (emphasis added). That flexibility for manufacturers again

reflected Congress’s purpose: to restore reduced pricing that manufacturers had voluntarily

provided to safety net entities before the establishment of the MDRP in 1990. See H.R. Rep. No.

102-384, pt. 2, at 12. Granting manufacturers discretion on the form such price reductions would

take under 340B is consistent with the discretionary basis on which those reductions were offered

before 1990.

       Subsequent HRSA guidance further confirmed that HRSA understood the 340B statute to

allow for the use of rebates. In 1997, HRSA proposed guidance discussing a rebate option for

providing 340B pricing to State AIDS Drug Assistance Programs (“ADAPs”). 62 Fed. Reg.

45,823 (Aug. 29, 1997). Citing the 1992 committee report, the guidance set forth HRSA’s

understanding that “section 340B does not specify whether entities should receive the section 340B

pricing ‘through a point of purchase discount, through a manufacturer rebate, or through some




                                                8
     Case 1:24-cv-03188-RC          Document 18-1       Filed 02/03/25     Page 18 of 56




other mechanism.’” Id. at 45,824 (quoting H.R. Rep. No. 102-384, pt. 2, at 16). The final

guidance, issued in 1998, confirmed that HRSA was not “propos[ing] a specific mechanism for

accessing [340B] rebates” in order to “allow maximum flexibility” between the state ADAPs and

manufacturers. 63 Fed. Reg. 35,239, 35,239, 35,241 (June 29, 1998).

       In 2010, as part of the Affordable Care Act, Congress amended Section 340B in several

respects, including by adding its so-called “must-offer” provision, which directs that each PPA

must “require that the manufacturer offer each covered entity covered outpatient drugs for

purchase at or below the applicable ceiling price.” 42 U.S.C. § 256b(a)(1). Importantly, nothing

in the amendment purported to eliminate rebates as a permitted mechanism for “offering” drugs

for purchase at 340B prices. Congress did not remove or alter the preexisting statutory language

that HRSA had read as allowing the use of rebates as a 340B pricing mechanism. See id. (retaining

the “rebate or discount” language as the first sentence of the paragraph). That language remains

unchanged to the present day. And, also to the present day, HRSA permits rebate models with

respect to ADAPs, which ADAPs continue to use.

       C.     The 340B Program Has Evolved Dramatically Since Its Inception

       Since its establishment in 1992, the 340B Program has expanded dramatically, becoming

the second-largest federal prescription drug program in the United States. AR73. The program

has also changed considerably over time. Among other things, 340B entities have entered into

thousands of so-called “contract pharmacy” arrangements, under which 340B covered entities

“contract with outside pharmacies” for the distribution of 340B-discounted drugs. Novartis

Pharms., 102 F.4th at 455. Because patients or their insurers often pay commercial prices for

drugs purchased at contract pharmacies, these arrangements enable generation of revenue from the

“spread between the discounted [340B] price and the higher insurance reimbursement rate.” Id. at




                                               9
     Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 19 of 56




457.3 That revenue is then shared between the for-profit pharmacies, pharmacy benefit managers

that own them, third-party administrators, and covered entities, which each have “a financial

incentive to catalog as many prescriptions as possible as eligible” for the program, and no

obligation to pass on or share the revenue generated with patients. See id. at 457-58.

       Covered entities’ use of contract pharmacies has exploded over time; between 2010 and

2019, the number of contract pharmacies dispensing 340B drugs ballooned from 1,300 to 23,000.

U.S. Gov’t Accountability Off., GAO-20-212, 340B Drug Discount Program: Oversight of the

Intersection with the Medicaid Drug Rebate Program Needs Improvement 2 (Jan. 27, 2020) (2020

GAO Report), https://bit.ly/3ZG0ctH. The contract pharmacy industry is now dominated by a

handful of multi-billion dollar for-profit pharmacy chains and PBMs, including CVS Health,

Walgreens, Cigna (via Express Scripts), UnitedHealth Group (via OptumRx), and Walmart. Adam




3
  Various studies have analyzed the resulting financial windfall for pharmacy benefit managers
and pharmacies and the lack of patient benefit. See, e.g., Peter J. Pitts & Robert Popovian, 340B
and the Warped Rhetoric of Healthcare Compassion, Food & Drug L. Inst. (2022),
https://bit.ly/3XK1cdG (“Consequently, PBMs are gaining a greater share of overall 340B contract
pharmacy business .... In 2018 alone, hospitals and pharmacies together made $13 billion in 340B
profits. The bulk of the pharmacy take goes to corporations like CVS.”); Ted Okon, Hospitals
And For-Profit PBMs Are Diverting Billions in 340B Savings From Patients In Need, STAT (Jul.
7, 2022), https://bit.ly/4dksUn7 (“[O]ne Wall Street analysis estimates that $2.58 billion in 340B
savings were siphoned away in 2021 by PBM-controlled pharmacies operated by Walgreens,
Caremark, Express Scripts, and OptumRx. That’s $2.58 billion in 340B discounts that patients
never benefit from.”). With respect to DSH covered entities in particular, studies have shown that
many are not using the savings they receive from the 340B Program to fund programs that would
benefit underserved patients, and that the majority of DSH covered entities are not providing more
care to disadvantaged patients than the average acute-care hospital. One analysis found that 69%
of 340B DSH covered entities provide charity care at rates lower than the national average. AIR
340B, Charity Care at 340B Hospitals is on a Downward Trend 2, 6 (Oct. 2023),
https://bit.ly/4eicWep. Similarly, an HHS Office of the Inspector General report found that almost
half of the DSH covered entities it surveyed required uninsured patients to pay the full, non-
discounted price for their medications at their contract pharmacies, even though the hospitals
purchased those drugs at the reduced 340B price. HHS-OIG, Memorandum Report: Contract
Pharmacy Arrangements in the 340B Program, OEI-05-13-00431, at 14 (Feb. 4, 2014),
https://bit.ly/3XKxkOf (finding seven of the 15 DSH covered entities surveyed required uninsured
patients to pay the full cost of their prescriptions).

                                                10
      Case 1:24-cv-03188-RC           Document 18-1         Filed 02/03/25      Page 20 of 56




J. Fein, EXCLUSIVE: For 2023, Five For-Profit Retailers and PBMs Dominate an Evolving 340B

Contract Pharmacy Market, Drug Channels (July 11, 2023), https://bit.ly/3ZH23yG.

       Alongside this explosion of growth for contract pharmacies, abuse of the 340B program by

covered entities has become rampant and well documented. For example, the Government

Accountability Office found in 2020 that, across 1,242 audits HRSA conducted of covered entities

from fiscal year 2012 through 2019, HRSA made 546 findings related to diversion and 429

findings related to duplicate discounts. AR217 (citing U.S. Gov’t Accountability Off., GAO-21-

107, Drug Pricing Program: HHS Uses Multiple Mechanisms to Help Ensure Compliance with

340B Requirements 13 (Dec. 14, 2020), https://www.gao.gov/assets/gao-21-107.pdf). HRSA

audits in fiscal year 2022 found evidence of duplicate discounting for at least 28 of 199 covered

entities audited, and for at least 25 of 159 covered entities in fiscal year 2023 audits. AR217 (citing

HRSA, Program Integrity: FY22 Audit Results, https://bit.ly/4ekBOlN (last updated July 24,

2024); HRSA, Program Integrity: FY23 Audit Results, https://bit.ly/4dpSxTs (last updated Sept.

20, 2024)).

       Aggravating these concerns is the emergence of so-called “replenishment models” for

340B purchasing. More than a decade ago—and without prior approval from HRSA—covered

entities shifted away from systems in which contract pharmacies physically kept 340B-priced

drugs in separate inventories from regular-priced inventory. Instead, they adopted “replenishment

models,” in which contract pharmacies make the initial purchase of a product at its (non-

discounted) commercial price, dispense the product to an individual who is later determined to be

a patient of the 340B entity, and then receive a replacement unit at 340B-discounted prices to

“replenish” the pharmacy’s stock.       See Novartis Pharms., 102 F.4th at 457-58 (describing

emergence and operation of replenishment models); see also Decl. of Krista M. Pedley ¶¶ 5-9,




                                                  11
     Case 1:24-cv-03188-RC          Document 18-1       Filed 02/03/25     Page 21 of 56




Sanofi-Aventis U.S., LLC v. HHS, No. 3:21-cv-634 (D.N.J. June 24, 2021) (Pedley Decl.), ECF

No. 93-2 (HRSA description of replenishment models). The D.C. Circuit recently described

replenishment models as follows:

              The mechanism for distributing covered drugs [under the 340B Program]
              also has evolved. While some contract pharmacies maintain separate
              inventories of section 340B drugs, most fill prescriptions from inventories
              that intermingle discounted and non-discounted drugs. Only after
              dispensing the drugs do these pharmacies attempt to discern whether
              individual customers were patients of covered entities—in other words,
              whether individual prescriptions were eligible for the discount. Many
              pharmacies outsource this determination to third-party administrators, who
              often receive a larger fee for every prescription deemed eligible for the
              discount. Once the pharmacy or the administrator categorizes a certain
              number of prescriptions as eligible, the pharmacy places an order to
              replenish its section 340B purchases. The covered entity, the pharmacy,
              and the third-party administrator often divvy up the spread between the
              discounted price and the higher insurance reimbursement rate. Each of
              these actors thus has a financial incentive to catalog as many prescriptions
              as possible as eligible for the discount.

Novartis Pharms., 102 F.4th at 457-58; see also PhRMA v. Morrisey, --- F. Supp. 3d ---, No. 2:24-

cv-00271, 2024 WL 5147643, at *2, *8 (S.D. W. Va. Dec. 17, 2024) (describing the replenishment

model as “the controlling drug distribution model in West Virginia”). Thus, replenishment models

work after the fact to reconcile transactions made initially at a commercial price to the 340B

discount, analogous to a rebate mechanism.

       HRSA has acknowledged the widespread usage of replenishment models in litigation, see

Pedley Decl. ¶¶ 5-9, Sanofi-Aventis U.S., No. 3:21-cv-634 (D.N.J. June 24, 2021), and in 2015

guidance, 80 Fed. Reg. 52,300, 52,305 (Aug. 28, 2015) (later withdrawn). However, HRSA has

never affirmatively authorized covered entities to utilize replenishment models, nor has it

undertaken any process to approve or reject them. Instead, HRSA has acquiesced to their

widespread adoption, without ever asserting that its permission was required.




                                               12
      Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 22 of 56




II.    FACTUAL AND PROCEDURAL BACKGROUND

       A.      J&J Observes Rapidly Increasing 340B Purchasing and Evidence of Program
               Abuse, but Covered Entities Stymie J&J’s Attempts to Audit

       Over the past few years, J&J has observed concerning trends in the volume of purchases

of its drugs at 340B prices. AR157, AR160-AR161. Across its portfolio, purchases of J&J’s 340B

drugs have increased at a rate at least twice as fast as its overall sales, and 340B purchases of

certain of its products have increased even faster. AR160; see AR52-AR53. From the second

quarter of 2023 to the second quarter of 2024, for example, 340B purchases of J&J’s drug

STELARA increased by 56%—about five times as fast as STELARA’s overall sales. AR160.

Likewise, 340B purchases of J&J’s drug XARELTO increased by 33%—about eight times as fast

as XARELTO’s overall sales. AR160. These significant 340B purchase increases have occurred

even though the population of patients either uninsured or living in poverty—the patients who

should be benefiting from 340B discounts—has actually declined by almost half, from 15.7% of

the U.S. population in 2013 to 8.7% in 2021. See Martin et al., Unintended Consequences, at 8.

For example, one review found that, for every $10 the top-performing quintile of 340B hospitals

collect in profit, just $1 is invested in charity care. See Neal Masia, Comparing the Financial

Health and Charitable Care of 340B and Non-340B Hospitals 3, 13 (2023), https://bit.ly/3BikgIx.

       In April 2024, J&J contacted several covered entities that J&J’s data showed had

significantly increased their 340B purchasing of certain J&J products over the past year; in some

cases, 340B purchasing grew by more than 120% in a 6-month period. AR161. J&J also found

evidence demonstrating that purchases by several of these covered entities had resulted in duplicate

discounts—in some cases, hundreds of such examples—in violation of the 340B statute. AR241;

see AR53. J&J attempted to engage in good-faith discussions with these entities so that J&J could

better understand the drivers of their substantial increases in utilization and attempt to confirm



                                                13
     Case 1:24-cv-03188-RC           Document 18-1        Filed 02/03/25      Page 23 of 56




whether their purchases had resulted in duplicate discounts or diversion.          AR162-AR163.

Unfortunately, most entities offered little substantive response. AR163-AR164.

       In May and June 2024, J&J submitted letters to HRSA requesting approval to conduct

audits of certain entities and explaining J&J’s concerns with each entity it sought to audit. AR162;

see AR53. In June and July 2024, HRSA approved J&J’s request to audit 11 covered entities.

AR162. J&J’s external independent auditor then began notifying the covered entities of the

HRSA-approved audits. AR162.

       Most of the covered entities refused to cooperate with J&J’s auditors—in violation of their

statutory obligation to participate in HRSA-approved audits, 42 U.S.C. § 256b(a)(5)(C). AR164;

see AR53-AR54. Five covered entities filed litigation against HRSA in this district seeking to

invalidate its approvals of the audits. See Or. Health & Sci. Univ. v. Johnson, et al., No. 1:24-cv-

02184-RC (D.D.C. filed July 24, 2024); MaineGeneral Med. Ctr. v. Johnson, et al., No. 1:24-cv-

02187-RC (D.D.C. filed July 24, 2024); Univ. of Rochester v. Johnson, et al., No. 1:24-cv-02268-

RC (D.D.C. filed Aug. 1, 2024); Children’s Nat’l Med. Ctr v. Johnson, et al., No. 1:24-cv-02563-

RC (D.D.C. filed Sept. 6, 2024); Univ. of Wash. Med. Ctr. v. Becerra, et al., No. 1:24-cv-02998-

RC (D.D.C. filed Oct. 22, 2024).4

       B.      J&J Considers Offering 340B Pricing Through a Rebate Model and Presents
               a Proposal to HRSA

       In the summer of 2024, J&J moved forward with initial steps toward adopting a rebate

model to effectuate 340B pricing. J&J contacted HRSA on June 27, 2024 to request a meeting to

discuss the rebate model concept. AR49. At the meeting, which was held on July 24, 2024, J&J

explained that it is deeply committed to the 340B program and wants to ensure 340B discounts are

4
  J&J has moved for leave to file amicus briefs in each of these cases detailing J&J’s good-faith
efforts to cooperate with these entities in the audits and the ways in which those efforts have been
rebuffed.


                                                14
      Case 1:24-cv-03188-RC          Document 18-1         Filed 02/03/25      Page 24 of 56




offered to eligible covered entities. AR157; see AR52-AR54. Yet because of the current structure

of the 340B program, J&J explained, it has little to no visibility into the claim-level data necessary

to validate 340B claims—in particular, whether covered entities are unlawfully obtaining duplicate

discounts on 340B-priced drugs. AR157, AR166; see AR53-AR54.

       J&J also explained the challenges it faces in attempting to comply with its obligations

under the “maximum fair price” (“MFP”) component of the Inflation Reduction Act (“IRA”), Pub.

L. No. 117-169, 136 Stat. 1818 (2022). See AR167. J&J explained that, under the IRA, covered

entities are entitled to the lesser of the 340B price or the MFP for drugs selected for “negotiation”

under the IRA. AR59. The Centers for Medicare and Medicaid Services (“CMS”) had previously

selected two J&J products, STELARA and XARELTO, for the MFP for calendar year 2026.

AR54; see AR73. The IRA includes a non-duplication provision that exempts manufacturers from

providing both the 340B ceiling price and the MFP on the same drug unit. AR59. As a result,

effectuating the MFP requires identifying when 340B-priced drugs are dispensed to Medicare

beneficiaries. AR59. However, CMS has not yet developed a mechanism enabling manufacturers

to identify those claims. AR59.

       Offering the 340B price through a rebate, J&J explained, would be an effective means for

J&J to fill the gap left by CMS, enabling J&J to identify Medicare claims in real time and

implement the IRA’s non-duplication provision. AR54; AR167-AR168; see AR59. Indeed, time

is of the essence for this issue. Under CMS guidance, J&J must submit a plan for effectuating the

MFP to CMS—which must include its procedures for administering the non-duplication

provision—by September 1, 2025. See CMS, Medicare Drug Price Negotiation Program: Final

Guidance, Implementation of Sections 1191 – 1198 of the Social Security Act for Initial Price

Applicability Year 2027 and Manufacturer Effectuation of the Maximum Fair Price in 2026 and




                                                 15
     Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 25 of 56




2027, § 90.2.1 (Oct. 2, 2024), http://bit.ly/3Y719J0. In addition, offering the 340B price through

a rebate would improve the integrity of the 340B program for all parties by helping to mitigate the

risk of duplicate discounts, which HRSA’s own audits demonstrate occur frequently. AR167; see

AR192.

       In light of the challenges J&J faces in meeting its obligations under the IRA, as well as the

disproportionate increases in J&J’s 340B sales, the resistance to audits J&J has experienced, and

its lack of visibility into data necessary to determine the legitimacy of claims for 340B pricing,

J&J informed HRSA that it was contemplating a shift to a rebate model (the “Rebate Model”).

AR167-68. Under J&J’s Rebate Model, Disproportionate Share Hospitals (DSH), one type of

covered entity particularly prone to the abuse that J&J identified, would purchase the applicable

J&J medicines (STELARA and XARELTO) from wholesalers at commercial prices, similar to the

replenishment models used today, and then receive a rebate to realize the 340B ceiling price

promptly after submitting commercially standard claims data for each purchase. AR169.

       At the end of the meeting, HRSA asked J&J to submit a letter describing its proposed

Rebate Model in detail, including the legal basis for the Rebate Model. AR55. J&J submitted the

letter to HRSA on July 31, 2024. AR55. In addition to detailing its Rebate Model’s wide range

of practical benefits for administering the program and the IRA and maintaining program integrity,

J&J explained that it has clear statutory authority to utilize such a model. AR56-AR57. In

particular, J&J noted that the 340B statute unequivocally contemplates “rebate[s]” as a mechanism

for manufacturers to offer the 340B price to covered entities, in addition to “discount[s].” AR57

(citing 42 U.S.C. § 256b(a)(1)). The letter also reminded HRSA that its proposed guidance

concerning ADAPs acknowledged that the 340B statute does not specify whether price reductions

should be effectuated through a discount or rebate. AR57.




                                                16
     Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 26 of 56




       As for J&J’s ability to select a Rebate Model, the letter cited recent decisions from the

Third and D.C. Circuits confirming that the 340B statute leaves manufacturers with discretion to

impose reasonable conditions with respect to the offering of 340B drugs, including requiring

covered entities to submit standard claims data gathered for 340B purchasing. AR58 (citing

Novartis Pharms., 102 F.4th 452; Sanofi Aventis, 58 F.4th 696). J&J explained that the same

reasoning and conclusions apply even more strongly in this context, where the statute expressly

contemplates both rebate and discount models as options for manufacturers to implement the 340B

program’s ceiling price requirement. AR58.

       The letter concluded by describing the modest scope of the Rebate Model J&J intended to

implement. AR62. Specifically, J&J reported that, beginning on October 15, 2024, it would apply

the Rebate Model only for purchases by DSH covered entities of the two products that CMS had

selected for the MFP for calendar year 2026, STELARA and XARELTO, with notice provided to

covered entities by August 15, 2024, 60 days in advance of the launch. AR62. J&J explained that

it believed the 60-day advance period would provide sufficient time for DSH entities to adjust to

the Rebate Model. AR62. Moreover, J&J noted that it planned to offer training and support during

and after the notice period to ensure covered entities have the ability to become familiar with the

Rebate Model’s operation, including a 45-day period for submission of claims data following

dispensing of a drug. AR62. J&J further explained that the Rebate Model would utilize standard

claims data that covered entities already collect in the normal course of business—under policies

approved by the D.C. Circuit, see Novartis Pharms., 102 F.4th at 463—and data elements that

covered entities currently submit to payers in the reimbursement process. AR58, AR61. To further

support the Rebate Model, J&J also informed HRSA that it planned to offer a grace period until




                                                17
      Case 1:24-cv-03188-RC          Document 18-1         Filed 02/03/25      Page 27 of 56




February 28, 2025, during which DSH covered entities could submit rebate claims outside of the

45-day window. AR62.

       C.      HRSA Rejects J&J’s Rebate Model Proposal

       On August 14, 2024, HRSA responded to J&J’s July 31 letter. AR64. In addition to posing

more than two dozen questions to J&J concerning the operation of the Rebate Model, the August

14 Letter also set forth HRSA’s determination that J&J lacks authority to adopt the model without

HRSA’s prior approval. AR66. The letter asserted that the 340B statute directs the HHS Secretary

to “‘enter into an agreement with each manufacturer of covered outpatient drugs under which the

amount required to be paid (taking into account any rebate or discount, as provided by the

Secretary) to the manufacturer’ shall not exceed the statutory ceiling price formula.” AR66

(quoting 42 U.S.C. § 256b(a)(1)) (emphasis added by HRSA). Communicating an interpretation

of the text, the letter then stated: “To date, the Secretary has not provided for such rebate as

proposed by J&J. Therefore, implementing such a proposal at this time would be inconsistent with

the statutory requirements for the 340B Program, which require the approval of a rebate model

such as J&J has proposed.” AR66.

       On August 16, 2024, J&J responded to HRSA’s August 14 letter. AR69. In addition to

answering HRSA’s questions, J&J noted that HRSA’s response was “a definitive and final

expression of HRSA’s interpretation that the 340B statute vests HRSA with discretion to determine

whether manufacturers may utilize a rebate model.” AR73. J&J expressed its disagreement with

that view and reiterated its legal basis for implementation of its Rebate Model. AR72-AR74. In

particular, J&J observed that “HRSA’s final action in this regard is not consistent with the statutory

text or history.” AR73. The statutory provision that HRSA’s August 14 letter quoted, J&J

explained, refers to HRSA’s PPAs with manufacturers, and J&J’s PPA contains no term addressing




                                                 18
     Case 1:24-cv-03188-RC           Document 18-1        Filed 02/03/25      Page 28 of 56




the mechanism to be used for offering 340B pricing on J&J products to covered entities. AR73.5

As a result, J&J retains discretion to employ the ceiling price mechanism of its choosing, including

its Rebate Model. AR74. J&J also informed HRSA that, in light of HRSA’s letter, and as a show

of good faith, J&J would delay its planned August 15, 2024 announcement of the rebate model

transition to August 23, 2024. AR84. On August 22, 2024, J&J sent HRSA a copy of the revised

notice it would be issuing to covered entities, and then issued its announcement as scheduled on

August 23. AR176; see AR575.

       In the days surrounding J&J’s August 23 announcement, several trade associations for

large hospital systems issued public statements criticizing the Rebate Model and calling for HRSA

to take action against J&J. AR565-AR579. To correct the numerous mischaracterizations of the

Rebate Model and the 340B statute in these statements, J&J sent an additional letter to HRSA on

September 12, 2024. AR190. Among other things, the September 12 Letter reiterated the basis

for J&J’s clear legal authority under the 340B statute to implement the Rebate Model. AR191-

AR195. J&J also noted that, to the extent the statute authorizes HRSA to direct a pricing

mechanism at all, it must do so through the PPA, and may not declare in a guidance document or

through any other administrative procedure that manufacturers may not use rebate models.

AR192-AR194.

       On September 17, 2024, then-HRSA Administrator Carole Johnson sent a letter to J&J,

which HRSA posted on its website the same day. AR201. The letter referred to J&J’s planned

implementation of its Rebate Model and reported HRSA’s final, consummated determination on

its legality: “By way of this correspondence, HRSA provides warning that this unapproved rebate



5
  J&J additionally noted that by its terms and structure, the 340B statute does not grant HRSA
discretion to mandate a pricing mechanism, even through the PPA. AR74 n.2.


                                                19
      Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 29 of 56




proposal violates J&J’s obligations under the 340B statute, and HRSA expects J&J to cease

implementation of it.” AR202. Citing the statute, the letter declared that “[t]he Secretary has not

‘provided’ that the rebates described in J&J’s notice should be ‘tak[en] into account’ in the

‘amount required to be paid’ for Stelara and Xarelto by disproportionate share hospitals.” AR203.

In a footnote, HRSA challenged J&J’s argument that a PPA amendment is the only regulatory

procedure by which HRSA could direct a pricing mechanism. AR202 n.1.

       HRSA’s letter also asserted that “J&J’s rebate proposal would require disproportionate

share hospitals to purchase Stelara and Xarelto at prices that exceed ‘the maximum price[s] that

covered entities may permissibly be required to pay’ for those drugs.” AR203. “This, too, violates

Section 340B(a)(1) of the PHS Act,” HRSA asserted. AR203. In effect, HRSA appeared to

contend that rebate models are per se impermissible because they result in covered entities being

“required to pay” prices above the ceiling price. See AR203. The letter then admonished that

“[b]ecause J&J’s rebate proposal, if implemented, violates J&J’s obligations under the 340B

statute, it subjects J&J to potential consequences,” including termination of J&J’s PPA and the

imposition of CMPs. AR203. HRSA concluded by declaring—in definitive and unequivocal

terms—that HRSA “expects J&J to cease implementation of its rebate proposal immediately and

to inform HRSA no later than September 30, 2024, in order to provide adequate notice to covered

entities.” AR204.

       J&J sent a letter in response on September 19. AR205. The letter expressed surprise that

HRSA viewed J&J’s Rebate Model as inconsistent with the 340B statute in light of the clear

statutory permissibility of rebate models. AR208. J&J also specifically responded to HRSA’s

assertion that it is unlawful to use any pricing mechanism that requires covered entities to purchase

340B drugs at commercial prices before receiving a payment effectuating the ceiling price.




                                                 20
     Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 30 of 56




AR209. HRSA’s position, J&J explained, flatly contradicts both the text and history of the 340B

statute, which make clear that rebates are a permitted pricing mechanism for the program. AR209.

J&J also responded to HRSA’s rejection of its arguments on the PPA, reiterating that it is clear

from the text of the statute that if HRSA has any discretion to direct a pricing mechanism (which

it does not), it could be exercised only through the PPA. AR209. After emphasizing the Rebate

Model’s numerous benefits for program administration and integrity, the letter concluded by

asking for a meeting with HRSA to continue discussions before HRSA’s September 30 requested

response date. AR210-AR211.

       HRSA did not respond to J&J’s good-faith offer to meet. Instead, HRSA sent a one-page

reply on September 27 that confirmed its final determination on the impermissibility of J&J’s

rebate model, as well as HRSA’s authority to direct a pricing mechanism by letter, and set out

stark legal consequences for J&J if it proceeded contrary to HRSA’s interpretation of the statute.

AR212-AR214. If J&J did not notify HRSA by September 30, 2024 that J&J would cease

implementation of the Rebate Model, HRSA decreed, “HRSA will begin the process outlined in

J&J’s Pharmaceutical Pricing Agreement related to terminating the agreement,” and “will initiate

a referral to the HHS Office of Inspector General pursuant to 42 U.S.C. § 256b(d)(1)(B)(vi),” i.e.,

a CMPs proceeding. AR214. The letter reiterated HRSA’s final, consummated position that “the

340B statute requires Secretarial approval of any rebate mechanism,” and asserted that J&J had

not requested such approval. AR214.

       J&J responded to HRSA on September 30 confirming that, in light of the drastic legal

consequences HRSA had threatened, J&J had no choice but to suspend implementation of its

Rebate Model. AR215. J&J once again reiterated its view that the 340B statute unequivocally

permits rebates as a pricing mechanism and that HRSA may direct a mechanism, if at all, through




                                                21
      Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 31 of 56




the PPA. AR216. J&J also reminded HRSA of the resistance J&J had faced in seeking to begin

its numerous HRSA-approved audits of covered entities, further demonstrating the need for a

Rebate Model to address serious concerns about program integrity. AR217. J&J concluded by

reiterating that it remained interested in meeting to continue discussing the Rebate Model. AR218.

J&J followed up on that request by email on October 2, 2024, and HRSA eventually agreed to a

meeting, which took place on October 21, 2024. See AR225-AR230.

       At the October 21 meeting, J&J maintained its legal position that it has authority to proceed

with its Rebate Model without HRSA pre-approval, but focused primarily on the substantive

features and benefits of the model, including that no other solution allows for compliance with the

IRA’s requirements concerning duplicate discounts. AR236-AR239. Specifically, only the

Rebate Model would allow J&J to deliver to covered entities the lower of the 340B ceiling price

and the MFP, as required by the IRA, and to prevent duplication across the two types of discounts.

See AR239; see also supra at 15-16.

       Following the meeting, while again preserving its legal position that HRSA pre-approval

was not required, J&J sent an email to HRSA inquiring whether HRSA would approve J&J’s

implementation of the Rebate Model as proposed. AR232. Noting that time was of the essence,

J&J requested that HRSA provide a response by October 28, 2024. AR232. When HRSA failed

to do so, J&J emailed HRSA on October 29, 2024, communicating that, in light of the lack of

response, J&J understood that HRSA’s position remained unchanged from its prior letters to J&J,

and J&J would proceed consistent with that understanding. AR247-AR248. HRSA did not

respond, but later confirmed its definitive interpretation of the statute with a policy pronouncement

posted on its website, affirming HRSA’s view that “implementing a rebate proposal without

Secretarial approval would violate Section 340B(a)(1) of the Public Health Service Act.” AR48.




                                                 22
      Case 1:24-cv-03188-RC           Document 18-1         Filed 02/03/25      Page 32 of 56




       D.      J&J Proceeds with Litigation Against HRSA

        On November 12, 2024, J&J sent HRSA an email stating: (1) J&J understands HRSA’s

August 14, September 17 and September 27, 2024 letters to reflect the agency’s final determination

on whether HRSA has the authority to preapprove rebate models and whether J&J’s proposed

Rebate Model is consistent with the 340B statute; and (2) J&J would be filing suit the same day

challenging HRSA’s final determinations, as set out in the August 14, September 17 and

September 27 letters, that J&J may not proceed with its Rebate Model without HRSA’s approval

and that J&J’s Rebate Model is not permissible under the 340B statute. AR251-AR252. J&J filed

its complaint in this action later the same day. ECF No. 1. The parties filed a consent motion for

a briefing schedule on cross-motions for summary judgment on December 27, 2024, which the

Court entered on December 30, 2024. ECF No. 10.

                                    STANDARD OF REVIEW

       Under Federal Rule of Civil Procedure 56, summary judgment is warranted “if the movant

shows that there is no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” Fed. R. Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

“But when assessing a summary judgment motion in an APA case, ‘the district judge sits as an

appellate tribunal.’” PhRMA v. HHS (Orphan Drug I), 43 F. Supp. 3d 28, 35 (D.D.C. 2014)

(Contreras, J.) (quoting Am. Bioscience, Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C. Cir. 2001)).

“‘The entire case on review is a question of law, and only a question of law.’ The district court’s

review ‘is based on the agency record and limited to determining whether the agency acted

arbitrarily or capriciously,’ or in violation of another standard set out in section 10(e) of the APA.”

Id. (first quoting Marshall Cnty. Health Care Auth. v. Shalala, 988 F.2d 1221, 1226 (D.C. Cir.

1993); then quoting Rempfer v. Sharfstein, 583 F.3d 860, 865 (D.C. Cir. 2009)).




                                                  23
      Case 1:24-cv-03188-RC          Document 18-1         Filed 02/03/25      Page 33 of 56




       That provision of the APA generally directs the Court to “hold unlawful and set aside

agency action, findings, and conclusions” that are “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.” 5 U.S.C. § 706(2); see, e.g., Vanda Pharms., Inc. v. FDA,

123 F.4th 513, 520 (D.C. Cir. 2024). “Where the question is whether the agency action was

consistent with statutory authorization, [a court’s] task is to determine whether the agency acted

consistently with the ‘best reading’ of the statute.” Vanda Pharms., 123 F.4th at 521 (quoting

Loper Bright Enters. v. Raimondo, 603 U.S. 369, 395 (2024)). In conducting that inquiry, courts

“must exercise [their] ‘independent judgment’ and ‘apply[] all relevant interpretive tools.’” Env’t

Def. Fund v. EPA, 124 F.4th 1, 11 (D.C. Cir. 2024) (quoting Loper Bright, 603 U.S. at 393, 400);

see also, e.g., Servier Pharms. LLC v. Becerra, No. 24-cv-2664, 2025 WL 27352, at *9 (D.D.C.

Jan. 3, 2025) (applying Loper Bright). “This judicial inquiry includes a determination as to

whether the statute in question ‘delegates discretionary authority’ to the agency and whether the

agency ‘engaged in reasoned decisionmaking within [the] boundaries’ of that statutory

delegation.” Vanda Pharms, Inc., 123 F.4th at 521 (quoting Loper Bright, 603 U.S. at 395).

       In reaching their own independent judgment on the best reading of a statute, courts may in

some instances consider “the ‘interpretations and opinions’ of the relevant agency, ‘made in

pursuance of official duty’ and ‘based upon … specialized experience.’” Loper Bright, 603 U.S.

at 388 (quoting Skidmore v. Swift & Co., 323 U.S. 134, 139-40 (1944)); see also, e.g., Pac. Gas &

Elec. Co. v. FERC, 113 F.4th 943, 951 (D.C. Cir. 2024) (citing Loper Bright, 603 U.S. at 385,

402). “‘The weight of such a judgment in a particular case’ … would ‘depend upon the

thoroughness evident in its consideration, the validity of its reasoning, its consistency with earlier

and later pronouncements, and all those factors which give it power to persuade, if lacking power

to control.’” Loper Bright, 603 U.S. at 388 (quoting Skidmore, 323 U.S. at 140); see also, e.g.,




                                                 24
     Case 1:24-cv-03188-RC           Document 18-1        Filed 02/03/25      Page 34 of 56




Lissack v. Comm’r, 125 F.4th 245, 259 (D.C. Cir. 2025) (“agency interpretations are not

controlling” but may “‘constitute a body of experience and informed judgment to which courts

and litigants may properly resort for guidance’” (quoting Skidmore, 323 U.S. at 140)).

                                          ARGUMENT

       The Court should declare that J&J may use a rebate model to provide the 340B ceiling

price to covered entities, without prior approval from HRSA, and that HRSA’s purported rejection

of J&J’s Rebate Model was unlawful.

       As an initial matter, the text, structure, purpose, and history of the 340B statute make clear

that manufacturers may use rebate models to effectuate 340B pricing. The statutory text expressly

provides that both a “rebate” and a “discount” are means of furnishing the ceiling price to covered

entities. 42 U.S.C. § 256b(a)(1). The statute also does not empower HRSA to mandate a pricing

mechanism or to bar manufacturers from selecting the pricing mechanism of their choice.

       And even if the statute did vest HRSA with discretion to specify a pricing mechanism, that

discretion may be exercised only through the PPA. HRSA purported to exercise that discretion

here—and adopt a substantive rule that binds J&J and serves as the basis for a threatened, severe

enforcement action—through letters to J&J and an online policy pronouncement. That is unlawful

twice over: once under the 340B statute, which permits rebates as a pricing mechanism; and again

under the APA, which requires agencies to use notice-and-comment rulemaking for enacting

legislative rules. Further, HRSA’s inconsistent treatment of replenishment models, which HRSA

tacitly approved, and J&J’s proposed rebate model, which HRSA harshly rejected, demonstrates

the capriciousness of HRSA’s decision-making.

       Simply put, HRSA’s unlawful actions should not prevent J&J from taking reasonable steps

to timely fulfill its obligations under the IRA and to further 340B program integrity. The Court




                                                25
      Case 1:24-cv-03188-RC          Document 18-1         Filed 02/03/25      Page 35 of 56




should declare that J&J may proceed with its Rebate Model and should vacate HRSA’s contrary

letters and website statement.

I.     THE 340B STATUTE UNQUESTIONABLY ALLOWS REBATE MODELS,
       WHICH MANUFACTURERS CAN SELECT AT THEIR DISCRETION

       A.      Rebate Models Are Permitted by the Statute

       At the outset, there can be no serious dispute that the 340B statute permits manufacturers

to use rebate models. The text of the statute is clear in this regard: “The Secretary shall enter into

an agreement with each manufacturer of covered outpatient drugs under which the amount required

to be paid (taking into account any rebate or discount, as provided by the Secretary) ….” 42

U.S.C. § 256b(a)(1) (emphasis added). Plainly, Congress contemplated both discounts and rebates

as available mechanisms for effectuating 340B price reductions.

       Though courts need not “resort to legislative history” to interpret “statutory text that is

clear,” Eagle Pharms., Inc. v. Azar, 952 F.3d 323, 335 (D.C. Cir. 2020) (citation omitted), the

legislative history of the 340B statute reaffirms the conclusion that flows from the statute’s plain

language. The key House committee report on the 340B bill explained that the legislation “does

not specify whether ‘covered entities’ would receive these favorable prices through a point-of-

purchase discount, through a manufacturer rebate, or through some other mechanism.” H.R. Rep.

No. 102-384, pt. 2, at 16; see also id. at 12 (explaining that “manufacturers, as a condition of

receiving Federal Medicaid matching funds on their covered outpatient drugs, would have to enter

into an agreement with the Secretary of HHS to provide price reductions (whether through a

discount, rebate, or other mechanism) to these ‘covered entities’ on covered outpatient drugs”).

And the bill’s Senate sponsor repeatedly stated in a floor speech that the agreements would require

manufacturers “to provide rebates or discounts” to covered entities. 138 Cong. Rec. 34293 (1992)

(statement of Sen. Alan Cranston); see id. at 34294 (repeatedly referring to provisions addressing



                                                 26
      Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 36 of 56




“rebate or discount agreement[s]”).       Unsurprisingly, HRSA’s first 340B guidance readily

acknowledged that the 340B program was “an attempt to provide Federal purchasers with a process

whereby they will receive drug discounts or rebates.” 58 Fed. Reg. at 27,290 (emphasis added).

       As noted, HRSA doubled down on that understanding in the 1997 guidance it proposed for

state ADAPs participating in 340B. 62 Fed. Reg. at 45,823-24. Relying on the 1992 committee

report, the proposed ADAP guidance confirmed that “section 340B does not specify whether

entities should receive the section 340B pricing ‘through a point of purchase discount, through a

manufacturer rebate, or through some other mechanism.’” Id. at 45,824 (quoting H.R. Rep. No.

102-384, pt. 2, at 16). HRSA further acknowledged that “Section 340B has no explicit language

as to whether the required reduction in price should be obtained by an initial reduction in the

purchase price (i.e., a discount mechanism) or received as a required reduction in cost rebated after

purchase, dispensing, and payment are completed (i.e., a rebate option).” Id. In its final ADAP

guidance the following year, HRSA allowed manufacturers “maximum flexibility” in how they

structured the rebate programs and would not propose “a specific mechanism.” 63 Fed. Reg. at

35,239, 35,241.

       B.      HRSA’s Interpretation of the 340B Statute Is Erroneous

       HRSA’s letters, and the policy pronouncement later posted on its website, assert that

manufacturers must seek permission and obtain “Secretarial approval” before adopting a rebate

model. See AR214; AR48. That position is inconsistent with the statute, which merely authorizes

Defendants to direct in the PPA that manufacturers must use appropriate records, recordkeeping

procedures, or accounting mechanisms to account for the rebates or discounts they choose to

provide.

       The relevant statutory text again states: “The Secretary shall enter into an agreement with

each manufacturer of covered outpatient drugs under which the amount required to be paid (taking


                                                 27
     Case 1:24-cv-03188-RC           Document 18-1        Filed 02/03/25      Page 37 of 56




into account any rebate or discount, as provided by the Secretary) to the manufacturer for covered

outpatient drugs … purchased by a covered entity on or after the first day of the first month that

begins after November 4, 1992, does not exceed” the ceiling price. 42 U.S.C § 256b(a)(1).

Importantly, the phrase “as provided by the Secretary” modifies the entire preceding phrase

“taking into account any rebate or discount,” not only the words “any rebate or discount,” as

HRSA’s letters suggest. The Supreme Court’s decision in Cyan, Inc. v. Beaver County Employees

Retirement Fund, 583 U.S. 416 (2018), is instructive. The Court there rejected the government’s

reading of a statute providing that “[a]ny covered class action brought in any State court involving

a covered security, as set forth in subsection (b) of this section, shall be removable.” Id. at 437

(quoting 15 U.S.C. § 77p(c)). The government asserted that the modifier “as set forth in subsection

(b) of this section” applied only to the immediately preceding phrase “involving a covered

security.” But the Court disagreed, explaining that “the most natural way to view the modifier is

as applying to the entire preceding clause,” which is “concise and ‘integrated’” and “hangs together

as a unified whole.” Id. at 440 (quoting Jama v. ICE, 543 U.S. 335, 344 n.4 (2005)).

       So too here. The modifier “as provided by the Secretary” is most naturally read to apply

to the entire rest of the parenthetical—“taking into account any rebate or discount”—rather than

just the immediately preceding words “any rebate or discount.” See id. Indeed, Congress’s

placement of the parentheses around the full phrase “taking into account any rebate or discount,”

and not just around “any rebate or discount,” underscores that Congress intended that full phrase

to operate as “a unified whole.” Id.; see also Maple Drive Farms Ltd. P’ship v. Vilsack, 781 F.3d

837, 847 (6th Cir. 2015) (explaining “[n]o intelligent construction of a text can ignore its

punctuation,” including when material is “contained in parentheses” (quoting Antonin Scalia &

Bryan A. Garner, Reading Law: The Interpretation of Legal Texts 161 (2012)).




                                                28
     Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 38 of 56




       Read consistent with these principles, the phrase “as provided by the Secretary” thus

authorizes the Secretary, at most, to provide in the PPA how a manufacturer should “tak[e] into

account” the manufacturer’s chosen pricing mechanism to ensure that the “amount required to be

paid” by the covered entity does not exceed the ceiling price. For example, the PPA could provide

that manufacturers must account for rebates by sending reconciliation forms with each rebate

payment to identify the drug purchases to which the rebate payment applies. The PPA could also

require that manufacturers obtain claims information from purchasers to confirm that the rebate

amounts a manufacturer will pay are accurate and will effectuate the ceiling price. Id. As for

discounts, the Secretary could “provide[]” in the PPA that manufacturers must maintain certain

accounting records to document discounts that are offered.6

       HRSA’s contrary interpretation that the 340B statute requires “Secretarial approval” before

manufacturers may use rebate models, AR203, selectively excerpts the language of the

parenthetical in an “[un]natural way,” Cyan, 583 U.S. at 440; does not give meaning either to the

words “taking into account” or the surrounding punctuation, see Maple Drive Farms, 781 F.3d at

847; and is not “the best reading of the statute,” Loper Bright, 603 U.S. at 400; see also, e.g.,

Vanda Pharms., Inc., 123 F.4th at 524. Moreover, the statutory language as written would be an

implausible way for Congress to convey the authority Defendants claim to have. See Wash. All.

of Tech. Workers v. DHS, 50 F.4th 164, 185 (D.C. Cir. 2022) (rejecting statutory interpretation

that was “awkward at best,” “implausible,” and “counterintuitive”). If Congress had intended to

vest the Secretary with discretion to decide the pricing mechanism manufacturers must use, it could

and would have said so directly. See, e.g., EB5 Holdings, Inc. v. Jaddou, 717 F. Supp. 3d 86, 104


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 HRSA could not impose conditions that effectively preclude manufacturers from selecting rebate
models, however. See Novartis Pharms., 102 F.4th at 463 (limiting HRSA’s discretion to restrict
manufacturers’ ability to utilize conditions for 340B sales).


                                                29
      Case 1:24-cv-03188-RC           Document 18-1        Filed 02/03/25      Page 39 of 56




(D.D.C. 2024) (“[I]f that was in fact Congress’s intent, it is safe to assume that Congress would

have expressed that intent much more clearly.”).

       Faced with that reality, HRSA’s interpretation in its letters and website statement

effectively rewrites the 340B statute to say something Congress did not. Again, the statute as

written by Congress provides as follows:

                 The Secretary shall enter into an agreement with each manufacturer of
                 covered outpatient drugs under which the amount required to be paid (taking
                 into account any rebate or discount, as provided by the Secretary) to the
                 manufacturer for covered outpatient drugs (other than drugs described in
                 paragraph (3)) purchased by a covered entity on or after the first day of the
                 first month that begins after November 4, 1992, does not exceed an amount
                 equal to the average manufacturer price for the drug under title XIX of the
                 Social Security Act in the preceding calendar quarter, reduced by the rebate
                 percentage described in paragraph (2).

42 U.S.C. § 256b(a)(1). The text as HRSA’s interpretation rewrites it would read something like

the following:

                 The Secretary shall enter into an agreement with each manufacturer of
                 covered outpatient drugs under which the amount required to be paid (taking
                 into account any rebate or discount, as provided by the Secretary) to the
                 manufacturer for covered outpatient drugs (other than drugs described in
                 paragraph (3)) purchased by a covered entity on or after the first day of the
                 first month that begins after November 4, 1992, does not exceed an amount
                 equal to the average manufacturer price for the drug under title XIX of the
                 Social Security Act in the preceding calendar quarter, reduced by the rebate
                 percentage described in paragraph (2). The amount to be paid hereunder
                 shall take into account either a discount or rebate, but only if such
                 pricing mechanism is authorized by the Secretary by regulation.

The far more natural and best reading of the statutory text is that it authorizes Defendants to

provide in the PPA that a manufacturer must account for rebates or discounts by using appropriate

records, recordkeeping procedures, or accounting mechanisms. See, e.g., Pac. Gas & Elec. Co.,

113 F.4th at 950-51 (rejecting a “[r]eading … at odds with the most natural reading of the statutory

provision”); Servier Pharms. LLC, 2025 WL 27352, at *17 (finding unpersuasive a reading that

“would strain the text” and accepting one “that makes better sense of the statutory text as a whole”).


                                                  30
     Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 40 of 56




       C.      HRSA Lacks Authority to Mandate a Pricing Mechanism

       It is “incumbent upon [HRSA] to demonstrate that some statute confers upon it the power

it purported to exercise.” California Indep. Sys. Operator Corp. v. FERC, 372 F.3d 395, 398 (D.C.

Cir. 2004). Yet for the reasons just explained, the statutory language HRSA relies on provides no

authority to reject manufacturers’ rebate models. Nor does any other provision of the 340B statute

confer such authority—just as this Court found with respect to a different HRSA action in the

Orphan Drug I case, 43 F. Supp. 3d 28. There, the Court concluded that HHS and HRSA had no

statutory authority for a rule purporting to mandate discounts for certain purchases by covered

entities of so-called orphan designated drugs, which were expressly exempted from the 340B

Program by statute. 43 F. Supp. 3d at 39-40 (citing 42 U.S.C § 256b).

       HHS in Orphan Drug I argued that five statutory provisions empowered it to adopt the

challenged orphan drug rule, but this Court disagreed. See id. at 39-40. The Court first reviewed

and dispatched with four of the five provisions, none of which arose under the Public Health

Service Act or the 340B Program and thus “clearly d[id] not confer any rulemaking authority upon

HHS for the orphan drug rule.” Id. at 40. The Court then carefully examined the entire 340B

statute and found that “[w]ithin section 340B, Congress specifically authorized rulemaking in three

places: (1) the establishment of an administrative dispute resolution process, (2) the ‘regulatory

issuance’ of precisely defined standards of methodology for calculation of ceiling prices, and (3)

the imposition of monetary civil sanctions.” Id. at 41 (quoting 42 U.S.C. § 256b(d)(1)(B)(i)(I)).

Stepping through each of those areas, the Court concluded that none “confer[s] orphan drug

rulemaking authority upon the agency.” Id. at 45. “The rulemaking authority granted HHS by

Congress under the 340B program” has been “specifically limited,” the Court explained, “and

HHS has not been granted broad rulemaking authority to carry out all the provisions of the 340B




                                                31
      Case 1:24-cv-03188-RC          Document 18-1         Filed 02/03/25      Page 41 of 56




program.” Id. at 42; see also PhRMA v. HHS (Orphan Drug II), 138 F. Supp. 3d 31, 36 (D.D.C.

2015) (Contreras, J.) (reiterating Orphan Drug I).

       Precisely the same conclusion—now bolstered by the D.C. Circuit’s recent affirmation that

“[t]he [HHS] Secretary lacks rulemaking authority over the section 340B program,” Novartis

Pharms., 102 F.4th at 459—applies to HRSA’s attempted actions on J&J’s Rebate Model here.

None of the narrow, “specific grants of rulemaking authority” that this Court identified in Orphan

Drug 1 as included in the 340B statute empowers HRSA to reject a manufacturer’s choice of a

rebate model. Orphan Drug I, 43 F. Supp. 3d at 39. As with the unlawful orphan drug rule,

HRSA’s rule requiring Secretarial approval of manufacturer rebate models has nothing to do with

“the establishment of an administrative dispute resolution process,” “standards of methodology for

calculation of ceiling prices,” or “the imposition of monetary civil sanctions.” Orphan Drug I, 43

F. Supp. 3d at 41. Defendants thus cannot rely on these authorities “to sustain rulemaking for an

entirely different purpose under the statute.” Id. at 45.7 As this Court held unequivocally,

“Congress has not given HHS [or HRSA] broad rulemaking authority … and ‘[w]here Congress

has established a clear line, the agency cannot go beyond it….’” Orphan Drug I, 43 F. Supp. 3d

at 45 (quoting City of Arlington v. FCC, 569 U.S. 290, 307 (2013)). The Court should therefore

vacate HRSA’s rejection of J&J’s Rebate Model and its policy requiring Secretarial approval of

manufacturer rebate models. See Hikvision USA, Inc. v. FCC, 97 F.4th 938, 944 (D.C. Cir. 2024)

(“In the absence of statutory authorization for its act, an agency’s action is plainly contrary to law

and cannot stand.” (quoting Atl. City Elec. Co. v. FERC, 295 F.3d 1, 8 (D.C. Cir. 2002)).



7
  HRSA has not cited these authorities in its letters to J&J or in the policy pronouncement on its
website, so any attempt to invoke them now would be barred in any case. See Vinyl Inst., Inc. v.
EPA, 106 F.4th 1118, 1126 (D.C. Cir. 2024) (citing the “bedrock principle of administrative law”
that “agency action is upheld only ‘upon the validity of the grounds upon which the [agency] itself
based its action’” (quoting SEC v. Chenery Corp., 318 U.S. 80, 88 (1943)).


                                                 32
      Case 1:24-cv-03188-RC            Document 18-1         Filed 02/03/25      Page 42 of 56




        The Court should further find that, because no provision of the 340B statute either prohibits

manufacturers from choosing a rebate model or authorizes HRSA to impose such a prohibition,

J&J is free to offer the ceiling price to covered entities via a rebate or discount at its discretion. As

the Sanofi and Novartis decisions from the Third and D.C. Circuits make clear, where the 340B

statute does not “prohibit[]” manufacturers “from adopting their policies” imposing reasonable

conditions on 340B purchases, such policies “are lawful.” Sanofi Aventis, 58 F.4th at 703-04

(finding that the 340B statute “imposes only a price term for drug sales to covered entities, leaving

all other terms blank”); Novartis Pharms., 102 F.4th at 460-61 (holding that the statute “preserves”

manufacturers’ ability to impose “reasonable conditions,” including “request[ing] standard

information” from covered entities); see also 59 Fed. Reg. 25,110, 25,114 (May 13, 1994) (HRSA

guidance providing that manufacturers may “request standard information” and utilize “customary

business practices” with covered entities). These authorities underscore and reinforce that J&J’s

Rebate Model accords with the 340B statute.

        D.      Even If HRSA Had Discretion to Mandate a Pricing Mechanism, It Must Do
                So in the PPA

        Alternatively, even if HRSA were correct that the best reading of the statute is that the

Secretary has discretion to direct a pricing mechanism, which it is not, the only regulatory vehicle

through which HRSA could possibly implement such a mandate is the PPA.

        Starting with the 340B statute’s text and structure, the provision containing the

parenthetical phrase that gives Defendants their supposed authority, “(taking into account any

rebate or discount, as provided by the Secretary),” discusses only the contents of the PPA. Indeed,

that subsection of the statute is titled “Requirements for agreement with Secretary.” 42 U.S.C.

§ 256b(a). The entirety of paragraph (1) describes such requirements for the PPA:

                The Secretary shall enter into an agreement with each manufacturer of
                covered outpatient drugs under which the amount required to be paid (taking


                                                   33
     Case 1:24-cv-03188-RC           Document 18-1        Filed 02/03/25      Page 43 of 56




               into account any rebate or discount, as provided by the Secretary) to the
               manufacturer for covered outpatient drugs (other than drugs described in
               paragraph (3)) purchased by a covered entity on or after the first day of the
               first month that begins after November 4, 1992, does not exceed an amount
               equal to the average manufacturer price for the drug under title XIX of the
               Social Security Act in the preceding calendar quarter, reduced by the rebate
               percentage described in paragraph (2). Each such agreement shall require
               that the manufacturer furnish the Secretary with reports, on a quarterly
               basis, of the price for each covered outpatient drug subject to the agreement
               that, according to the manufacturer, represents the maximum price that
               covered entities may permissibly be required to pay for the drug (referred
               to in this section as the “ceiling price”), and shall require that the
               manufacturer offer each covered entity covered outpatient drugs for
               purchase at or below the applicable ceiling price if such drug is made
               available to any other purchaser at any price.

42 U.S.C. § 256b(a)(1) (emphasis added). Read in context, the parenthetical phrase refers to the

terms of the PPA. It strains credulity to argue that Congress would bury language establishing an

independent source of agency authority to act on pricing mechanisms within a paragraph that

addresses the structure and contents of the PPA. See Genus Med. Techs. LLC v. FDA, 994 F.3d

631, 643 (D.C. Cir. 2021) (explaining that Congress “does not … hide elephants in mouseholes”

(quoting Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 467-68 (2001))). Plainly, even if the

statute authorized the Secretary to “provide[]” for the ceiling price mechanism manufacturers must

use (it does not), the Secretary could do so only through a term in the PPA. 42 U.S.C. § 256b(a)(1).

       Again, courts need not “resort to legislative history” where, as here, the “statutory text …

is clear.” Eagle Pharms., 952 F.3d at 339 (citation omitted). But to the extent the 340B statute’s

legislative history is considered, it supports the same conclusion. The 1992 House report, for

example, states that, under the bill, “manufacturers, as a condition of receiving Federal Medicaid

matching funds on their covered outpatient drugs, would have to enter into an agreement with the

Secretary of HHS to provide price reductions (whether through a discount, rebate, or other

mechanism) to these ‘covered entities’ on covered outpatient drugs. H.R. Rep. No. 102-384, pt.

2, at 12 (emphases added). In addition to confirming that a rebate model is an available mechanism


                                                34
      Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25       Page 44 of 56




for furnishing 340B pricing to covered entities, that passage signals that, to the extent Congress

intended to authorize HHS to direct a pricing mechanism (which it did not, see sections I.B-C,

supra), HHS would need to exercise that authority only through the PPA. See id. The report

similarly explains that, although “[t]he Committee bill does not specify whether ‘covered entities’

would receive these favorable prices through a point-of-purchase discount, through a manufacturer

rebate, or through some other mechanism.… [t]he Committee expects that the Secretary of HHS,

in developing these agreements, will use the mechanism that is the most effective and most

efficient from the standpoint of each type of ‘covered entity.’” Id. at 16.8

       Nothing in the legislative history suggests that Congress empowered the Secretary to

prohibit rebate models or require discounts through any means other than the PPA. Yet the PPA,

a form agreement on HRSA’s website, contains no term addressing the pricing mechanism

manufacturers must use. Defendants’ failure to include such a term in the more than thirty years

of the 340B program’s existence—and manufacturers’ discretionary adoption of discount models

without HRSA (or Congress) indicating disapproval of that structure, see section II.B, infra—

makes clear that manufacturers retain discretion to select among mechanisms, including rebates

and discounts, for their administration of the program. As this Court held in Orphan Drug I,

“[w]here Congress prescribes the form in which an agency may exercise its authority ... [the court]

cannot elevate the goals of an agency’s action, however reasonable, over that prescribed form.”

43 F. Supp. 3d at 38 (quoting Amalgamated Transit Union v. Skinner, 894 F.2d 1362, 1364 (D.C.



8
 This language in the House committee report is inconsistent with the plain and unambiguous text
of the statute and should receive no weight in determining its meaning. See Milner v. Dep’t of
Navy, 562 U.S. 562, 574 (2011) (“clear statutory language” prevails over “committee reports”);
cf. Morley v. CIA, 719 F.3d 689, 691 (D.C. Cir. 2013) (Kavanaugh, J., concurring) (“[W]e should
heed the statutory text of FOIA, not committee reports.”). At a minimum, however, the report
supports the conclusion that the PPA is the only possible mechanism through which Defendants
could direct a pricing mechanism if the statute provided authority to do so.


                                                 35
     Case 1:24-cv-03188-RC           Document 18-1        Filed 02/03/25      Page 45 of 56




Cir. 1990)). If Defendants could mandate or prohibit a pricing mechanism at all (which they

cannot), they could only do so through the PPA. HRSA’s attempts to announce such a policy

through letters to J&J and a statement on its website are accordingly unlawful and void.

       E.      Rebate Models Do Not Violate the “Must-Offer” Requirement

       In its correspondence with J&J, HRSA also asserted that the “must-offer” provision of the

340B statute, which Congress added in 2010, prohibits manufacturers from adopting a pricing

mechanism in which covered entities purchase 340B drugs at commercial prices and then receive

a rebate to effectuate the ceiling price. AR202-AR203. On HRSA’s telling, “J&J’s rebate proposal

would require disproportionate share hospitals to purchase Stelara and Xarelto at prices that exceed

‘the maximum price[s] that covered entities may permissibly be required to pay’ for those drugs.”

AR203. In other words, HRSA’s view is that a manufacturer that relies on rebates to effectuate

340B price reductions necessarily fails to “offer” the 340B ceiling price. See AR202-AR203.

       That interpretation, which HRSA has never before asserted, fails on several grounds. First,

by effectively precluding the use of any rebate model, the interpretation would render superfluous

the statute’s reference to “any rebate or discount.” 42 U.S.C. § 256b(a)(1) (emphasis added); see,

e.g., Mercy Hosp., Inc. v. Azar, 891 F.3d 1062, 1068 (D.C. Cir. 2018) (“We presume that Congress

did not ‘include words that have no effect.’” (quoting Scalia & Garner, supra, at 176-77)). If

Congress had intended to revoke its authorization of rebate models when it added the “must-offer”

provision in 2010—the assumption apparently underlying HRSA’s claim—it surely would have

done so by amending the provision expressly providing for a rebate mechanism. Yet that language

remained unchanged. HRSA cannot now “rewrite a statute’s plain text” to make it correspond

with a particular policy preference. Eagle Pharms., 952 F.3d at 335 (quoting Landstar Express

Am., Inc. v. Fed. Mar. Comm’n, 569 F.3d 493, 498 (D.C. Cir. 2009) (Kavanaugh, J.)). Second,

HRSA’s reading is notably inconsistent with its rebate guidance for state ADAPs, which remains


                                                36
      Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 46 of 56




in effect and continues to be applied. See 63 Fed. Reg. at 35,239, 35,242. Third, HRSA’s

interpretation clashes with recent interpretations of the “must-offer” provision by the D.C. and

Third Circuits, which confirm that the 340B statute allows manufacturers to adopt “reasonable

conditions” with respect to the offering of 340B drugs and that HRSA cannot impose restrictions

unless authorized to do so by statute. Novartis Pharms., 102 F.4th at 459-61; Sanofi Aventis, 58

F.4th at 703-05.

       Fourth, interpreting the “must-offer” provision to require discounts fails as a matter of

ordinary meaning. The statute provides that the PPA “shall require that the manufacturer offer

each covered entity covered outpatient drugs for purchase at or below the applicable ceiling price.”

42 U.S.C. § 256b(a)(1) (emphasis added). “Price” means “[t]he cost of acquiring or producing

something.” Price, Black’s Law Dictionary (12th ed. 2024). Under the plain language of the

statute, the “price” of J&J drugs for covered entities under J&J’s Rebate Model is the ceiling price,

however effectuated. Indeed, it is commonly understood that “[t]he transaction price of a

prescription drug … includes discounts and rebates.” PhRMA v. David, 510 F. Supp. 3d 891, 898

(E.D. Cal. 2021). Manufacturers routinely “offer[] lower prices … through rebates or discounts.”

Cash & Henderson Drugs, Inc. v. Johnson & Johnson, 799 F.3d 202, 206 (2d Cir. 2015) (emphasis

added); see also, e.g., FTC v. Cardinal Health, Inc., 12 F. Supp. 2d 34, 41 (D.D.C. 1998)

(explaining that drug manufacturers may offer “cash rebates” to wholesalers that result in a

wholesaler “acquir[ing] the drugs for prices less than the listed [wholesale acquisition cost]”

(emphasis added)). Stated simply, an offer to purchase a drug and then receive a rebate is an offer

to purchase the drug at the price after the rebate. J&J’s Rebate Model therefore does not result in

covered entities paying more than the ceiling price. See also Novartis Pharms., 102 F.4th at 460-

61 (discussing definitions of “offer,” “purchase,” and “price” under the 340B statute).




                                                 37
      Case 1:24-cv-03188-RC          Document 18-1         Filed 02/03/25      Page 47 of 56




       That understanding also aligns with HHS’s implementation of the Anti-Kickback Statute,

42 U.S.C. § 1320a-7b(b) (“AKS”). Under AKS safe-harbor regulations, a “discount” is “a

reduction in the amount a buyer … is charged for an item or service based on an arms-length

transaction.” 42 C.F.R. § 1001.952(h)(5). A rebate, in turn, is “any discount the terms of which

are fixed and disclosed in writing to the buyer at the time of the initial purchase to which the

discount applies, but which is not given at the time of sale.” Id. § 1001.952(h)(4) (emphasis

added). In other words, a “rebate” is a type of “reduction in the amount a buyer … is charged for

an item.” Id. § 1001.952(h)(5). The purchaser is still “charged” the reduced amount, regardless

of whether the reduction is pre- or post-offer. See also, e.g., 42 U.S.C. § 1396r-8(c)(1)(C)(ii)(I)

(“best price” under Medicaid Drug Rebate Program “shall be inclusive of cash discounts, …

volume discounts, and rebates”); 42 C.F.R. § 447.505(b) (implementing Medicare regulation

defining “[b]est price” to include “applicable discounts, rebates, or other transactions that adjust

prices either directly or indirectly”); 42 U.S.C. § 1395w-102(d)(1)(B) (Medicare Part D statute

providing that “negotiated prices … shall take into account negotiated price concessions, such as

discounts, direct or indirect subsidies, rebates, and direct or indirect remunerations, for covered

part D drugs”); 42 C.F.R. § 423.100 (defining “[p]rice concession” for Part D as “any form of

discount, direct or indirect subsidy, or rebate received by the Part D [plan] sponsor … that serves

to decrease the costs incurred under the Part D plan”).

       As these parallel provisions and regulations reinforce, the 340B statute’s “must-offer”

provision by its plain terms is satisfied when a covered entity receives a rebate that reduces the net

price for an eligible drug purchase to the ceiling price. HRSA’s newfound interpretation of the

must-offer provision, which would preclude the use of any rebate model at all, is contrary to law.




                                                 38
      Case 1:24-cv-03188-RC           Document 18-1       Filed 02/03/25      Page 48 of 56




II.    HRSA UNLAWFULLY REJECTED J&J’S REBATE MODEL

       HRSA’s rejection of J&J’s Rebate Model was unlawful on several grounds. As described

in section I.C, supra, HRSA lacks statutory authority to mandate a pricing mechanism, so any

attempt to do so is ultra vires, in excess of statutory jurisdiction, and not in accordance with law.

See 5 U.S.C. § 706(2)(A), (C). Even if the 340B statute did grant Defendants discretion to approve

or prohibit pricing mechanisms (which it does not), Defendants could do so only through the PPA,

not through letters to manufacturers or policy pronouncements on HRSA’s website. See section

I.D, supra. HRSA’s final actions disapproving J&J’s Rebate Model accordingly violated the 340B

statute. HRSA’s actions also violated the APA: assuming in the alternative that HRSA has

authority to mandate or prohibit a pricing mechanism, that is an exercise of legislative authority

that requires notice-and-comment rulemaking. Further, HRSA’s treatment of J&J’s Rebate Model,

in comparison to how HRSA has approached the replenishment models in widespread use by

covered entities, is arbitrary and capricious.

       A.      HRSA’s Rejection of J&J’s Rebate Model Announced a Legislative Rule
               Without Required Procedure

       HRSA’s letters to J&J and website statement violated the APA because HRSA tried to

adopt and enforce a legislative rule without using notice-and-comment rulemaking. “An agency

action that purports to impose legally binding obligations or prohibitions on regulated parties—

and that would be the basis for an enforcement action for violations of those obligations or

requirements—is a legislative rule.” Nat’l Mining Ass’n v. McCarthy, 758 F.3d 243, 251 (D.C.

Cir. 2014) (Kavanaugh, J.); see also, e.g., Elec. Energy, Inc. v. EPA, 106 F.4th 31, 40 (D.C. Cir.

2024) (explaining that, to determine whether a regulatory action is a legislative rule, “we look to

whether the action binds private parties or the agency itself with the force of law” (cleaned up)).




                                                 39
      Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 49 of 56




       Repeating the position it took in its letters to J&J, HRSA has declared on its website that

“implementing a rebate proposal without Secretarial approval would violate Section 340B(a)(1).”

AR48. That statement unequivocally “tell[s] regulated parties what they must do or may not do in

order to avoid liability,” and thus imposes a legally binding prohibition on J&J, barring adoption

of its Rebate Model absent HRSA approval. Nat’l Mining Ass’n, 758 F.3d at 252. And HRSA’s

threats to terminate J&J from the 340B program if it proceeds with the Rebate Model, AR203;

AR214, demonstrate that HRSA views violations of its announced policy as the basis not only for

pursuing enforcement, but for seeking the most severe sanctions possible. HRSA has thus

purported to adopt a policy that binds J&J, yet it failed to use notice-and-comment, “the hallmark

of a legislative rule.” Orphan Drug I, 43 F. Supp. 3d at 46; see Nat’l Mining Ass’n, 758 F.3d at

250 (“Legislative rules … may be promulgated only after public notice and comment.”). HRSA’s

declaration of its policy through its letters and website statement, and application of the policy to

J&J, therefore violated the APA and should be vacated. 5 U.S.C. § 706(2)(D) (directing reviewing

courts to hold unlawful and set aside agency action taken “without observance of procedure

required by law”).

       HRSA’s failure to exercise its alleged discretion consistent with the APA here makes its

rejection of J&J’s Rebate Model unlawful—as would be any attempt to adopt the same policy

through a PPA amendment without notice-and-comment rulemaking. In short, HRSA action to

specify a mechanism under 42 U.S.C. § 256b(a)(1) is an exercise of purported legislative authority

and an application of discretion supposedly delegated by Congress to adopt binding requirements

for regulated parties. When an agency promulgates a policy “with the intent to exercise its

delegated legislative power by speaking with the force of law,” the policy is a legislative rule and

notice-and-comment is required. Nat’l Council for Adoption v. Blinken, 4 F.4th 106, 114 (D.C.




                                                 40
     Case 1:24-cv-03188-RC           Document 18-1        Filed 02/03/25      Page 50 of 56




Cir. 2021) (citation omitted); see also, e.g., CSL Plasma Inc. v. U.S. Customs & Border Prot., 628

F. Supp. 3d 243, 261-62 (D.D.C. 2022) (“A legislative rule … ‘supplements a statute, adopts a

new position inconsistent with existing regulations, or otherwise effects a substantive change in

existing law or policy.’” (quoting Mendoza v. Perez, 754 F.3d 1002, 1021 (D.C. Cir. 2014))).

       Contrary to HRSA’s assertion in its September 17, 2024 letter to J&J, AR202 n.1, nothing

in the Supreme Court’s decision in Astra USA, Inc. v. Santa Clara County, 563 U.S. 110 (2011),

suggests a different result. The Court there stated that “PPAs simply incorporate statutory

obligations and record the manufacturers’ agreement to abide by them,” id. at 118, which remains

true; the form PPA on HRSA’s website, and the addendum HRSA released in 2016, simply parrot

the statutory text, see AR36-AR47; see also 80 Fed. Reg. 63,560, 63,560 (Oct. 20, 2015) (HRSA

notice announcing PPA addendum “to incorporate the administrative requirement for

manufacturer integrity provisions directly addressed in the Affordable Care Act”); 81 Fed. Reg.

20,649, 20,649 (Apr. 8, 2016) (final PPA addendum notice). To date, the PPA has simply echoed

the statutory text and “serve[d] as the means by which drug manufacturers opt into the statutory

scheme.” Astra USA, 563 U.S. at 118.

       If HRSA attempts to use alleged authority (under the incorrect assumption it has such

authority) to mandate or prohibit a pricing mechanism through the PPA, that would constitute the

promulgation of a legislative rule, premised on a claimed delegation of authority, that announces

a binding interpretation of the statute. See Ass’n of Flight Attendants-CWA, AFL-CIO v. Huerta,

785 F.3d 710, 716 (D.C. Cir. 2015) (“A legislative rule ‘modifies or adds to a legal norm based on

the agency’s own authority’ flowing from a congressional delegation to engage in supplementary

lawmaking.” (quoting Syncor Int’l. Corp. v. Shalala, 127 F.3d 90, 95 (D.C. Cir. 1997))). Under

the APA, courts must respect “delegations of authority” to agencies, but must also “police the outer




                                                41
      Case 1:24-cv-03188-RC             Document 18-1     Filed 02/03/25      Page 51 of 56




statutory boundaries of those delegations, and ensure that agencies exercise their discretion

consistent with the APA.” Loper Bright, 603 U.S. at 404. That includes enforcing the requirement

of notice-and-comment for legislative rules, Nat’l Council for Adoption, 4 F.4th at 114, and

ensuring that properly promulgated rules are “reasonable and reasonably explained,” Env’t Def.

Fund, 124 F.4th at 11 (quoting FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021))—

which in turn requires the agency to credibly explain any decisions to treat similar situations

differently. See section II.B, infra.

       B.      HRSA’s Inconsistent Treatment of Rebate and Replenishment Models Raises
               Serious Questions About the Agency’s Decision-making

       HRSA’s decisions to reject J&J’s Rebate Model, and to prohibit use of any rebate model

“without Secretarial approval,” AR214, are fundamentally at odds with the approach that HRSA

has taken in response to the emergence and broadscale utilization of replenishment models by

covered entities. “It is a fundamental principle of administrative law that agencies must treat like

cases alike.” Grayscale Invs., LLC v. SEC, 82 F.4th 1239, 1242 (D.C. Cir. 2023). Even though

replenishment models share many of the same features and operate in materially the same manner

as J&J’s proposed Rebate Model, HRSA has treated requests by manufacturers to adopt rebate

models in a dramatically different fashion from how it has responded to covered entities’ adoption

of replenishment models—or, more accurately, has not responded.

       Under a replenishment model, drug units are purchased at wholesale acquisition cost

(“WAC”), and the 340B price is realized once the covered entity’s third-party administrator

determines that a sufficient number of units have been dispensed to 340B-eligible patients and

then places an order to replenish the stock of the drug at the 340B price. See Pedley Decl. ¶¶ 5-9,




                                                42
      Case 1:24-cv-03188-RC          Document 18-1        Filed 02/03/25      Page 52 of 56




Sanofi-Aventis U.S., LLC, No. 3:21-cv-634 (D.N.J. June 24, 2021);9 Novartis Pharms., 102 F.4th

at 457-58. J&J’s Rebate Model is similar in critical respects—drug units are purchased at WAC

and the 340B price is realized after the initial sale. In replenishment models, the 340B price is

effectuated subsequent to the product dispense to the patient by replenishing with a replacement

unit whereas, with the Rebate Model, the 340B price is effectuated subsequent to the product

dispense to the patient by providing a rebate.

       Despite these and other key commonalities, none of HRSA’s correspondence rejecting

J&J’s Rebate Model adequately explained why HRSA treated the Rebate Model differently from

the replenishment models that covered entities have used for over a decade. In its September 17,

2024 letter to J&J, HRSA tried to distinguish replenishment models from rebate models by

asserting that, under the “typical replenishment structure,” the covered entity purchases the initial

unit at WAC and then subsequent units are replenished at the 340B price. AR203. But that is

materially the same as how J&J’s Rebate Model will work. The covered entity will purchase a

unit at WAC and then obtain a rebate seven to ten days after submitting data supporting the 340B

purchase. AR208-AR209. The rebate plays the same role as the replenishment unit in ensuring

that the prior purchase nets the 340B price.

       HRSA’s failure to sufficiently explain its inconsistent treatment of replenishment models

and J&J’s Rebate Model fatally undermines its decision-making. “[W]hen an agency takes

inconsistent positions ... it must explain its reasoning.” District Hosp. Partners, L.P. v. Burwell,

786 F.3d 46, 59 (D.C. Cir. 2015) (quoting Gulf Power Co. v. FERC, 983 F.2d 1095, 1101 (D.C.

Cir. 1993)).   For basic reasons of fairness, HRSA “cannot treat similarly situated entities



9
 The Court may “properly take judicial notice of proceedings and filings in other courts.” Strike
3 Holdings, LLC v. Doe, 964 F.3d 1203, 1213 (D.C. Cir. 2020).


                                                 43
      Case 1:24-cv-03188-RC         Document 18-1        Filed 02/03/25      Page 53 of 56




differently unless it ‘support[s] th[e] disparate treatment with a reasoned explanation and

substantial evidence in the record.’” Lilliputian Sys., Inc. v. Pipeline & Hazardous Materials

Safety Admin., 741 F.3d 1309, 1313 (D.C. Cir. 2014) (quoting Burlington N. & Santa Fe. Ry. Co.

v. Surface Transp. Bd., 403 F.3d 771, 777 (D.C. Cir. 2005)). The superficial distinctions HRSA’s

September 17 letter draws between replenishment models and J&J’s Rebate Model fail to satisfy

that standard.

       That is especially true for the September 17 letter’s assertion that replenishment models

are distinct from rebate models in that “covered entities voluntarily choose to use replenishment

processes,” whereas “J&J’s proposal is not voluntary for covered entities.” AR203. HRSA has

acquiesced in covered entities’ use of replenishment models for more than a decade, see, e.g., 80

Fed. Reg. at 52,305 (2015 proposed guidance acknowledging use of replenishment models), but

has never affirmatively authorized their use or provided any limitations or guidelines, let alone

granted manufacturers an opportunity to reject the use of replenishment models. HRSA’s position

thus inexplicably treats one class of program stakeholders—covered entities—more favorably than

another set of stakeholders—manufacturers. Courts have long held that “agency action ‘is at its

most arbitrary when it treats similarly situated people differently’” without “an adequate

explanation.” Nasdaq Stock Market LLC v. SEC, 38 F.4th 1126, 1141 (D.C. Cir. 2022) (first

quoting Etelson v. Off. of Pers. Mgmt., 684 F.2d 918, 926 (D.C. Cir. 1982); then quoting Burlington

N. & Santa Fe Ry. Co., 403 F.3d at 776).10


10
   HRSA continued this differential treatment in its evaluation of J&J’s Rebate Model. The
Administrative Record reveals that HRSA met with representatives of a hospital association on
October 2, 2024, and asked the association to submit information on a number of topics, including
“[t]he potential added administrative costs of implementing a rebate model” and “[t]he extent to
which manufacturer administrative barriers effectively create a denial of discounts that covered
entities are eligible for.” AR586. HRSA has yet to ask manufacturers corresponding questions
about, for example, the administrative costs manufacturers shoulder in order to supply drugs to



                                                44
     Case 1:24-cv-03188-RC           Document 18-1        Filed 02/03/25      Page 54 of 56




       If the 340B statute permits covered entities to implement replenishment models without

HRSA consent, as HRSA has apparently decided, then surely it follows that the 340B statute

permits manufacturers to implement rebate models without HRSA consent. This is especially so

given that the text of the 340B statute expressly references rebates as a means of effectuating 340B

prices but nowhere mentions replenishment models. Congress’s broader purpose in enacting the

340B statute reinforces this conclusion. The aim of the law was to restore the status quo before

the Medicaid Drug Rebate Program was enacted in 1990; at that time, manufacturers voluntarily

offered reduced pricing to safety net providers. See H.R. Rep. No. 102-384, pt. 2, at 12. Granting

manufacturers discretion on the form the restored price reductions would take post-340B is

consistent with the discretionary basis on which those price reductions were offered pre-1990.

HRSA’s contrary approach of giving manufacturers no say at all as to pricing mechanism—while

simultaneously forcing them to accept covered entities’ unprecedented and unilateral adoption of

replenishment models—is not consistent with either the 340B statute or the APA, which does not

countenance such arbitrary, inconsistent, and inadequately explained agency action.

                                         CONCLUSION

       For the foregoing reasons, J&J respectfully requests that the Court grant its Motion for

Summary Judgment, declare that J&J may utilize its Rebate Model for the 340B program and that

HRSA’s rejection of the Rebate Model was unlawful, and vacate and set aside HRSA’s letters

announcing that rejection decision and its website policy pronouncement requiring Secretarial

approval for implementation of 340B rebate models.




covered entities and their contract pharmacies using replenishment models, or the extent to which
replenishment models enable unlawful diversion or duplicate discounting.


                                                45
    Case 1:24-cv-03188-RC   Document 18-1    Filed 02/03/25    Page 55 of 56




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                                   Respectfully submitted,

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                                    46
      Case 1:24-cv-03188-RC          Document 18-1          Filed 02/03/25   Page 56 of 56




                                 CERTIFICATE OF SERVICE

       I certify that on February 3, 2025, I filed the foregoing with the Clerk of the Court using

the ECF System, which will send notification of such filing to the registered participants

identified on the Notice of Electronic Filing.

                                                 /s/ Jeffrey L. Handwerker
                                                 Jeffrey L. Handwerker




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